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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION



    STEPHAN SCHURMANN,                    )
                                          )
             Petitioner,                  )
                                          )
                                          )    Case No. 3:15cv224/MCR
                                          )
    vs.                                   )    Pensacola, Florida
                                          )    June 9, 2015
                                          )    8:37 a.m.
                                          )
    JUBILIE ANQUI,                        )
                                          )
             Respondent.                  )
                                          )


                      TRANSCRIPT OF EVIDENTIARY HEARING
                    BEFORE THE HONORABLE M. CASEY RODGERS
                     CHIEF UNITED STATES DISTRICT JUDGE
                                (Pages 1-107)



                                   APPEARANCES

    FOR THE PETITIONER:           DANIEL E. NORDBY, ESQUIRE
                                  Shutts & Bowen, LLP
                                  215 S Monroe Street, Suite 804
                                  Tallahassee, Florida 32301


    FOR THE RESPONDENT:           JAMES M. LEVY, ESQUIRE
                                  James Levy, PA
                                  225 Main Street, Suite 6
                                  Destin, Florida 32541
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            1                            P R O C E E D I N G S
08:20:34    2            (Court called to order; parties present with counsel.)
08:32:03    3               THE COURT: Good morning. As you all know, we are
08:37:08    4   here this morning for the final hearing on the petition of
08:37:13    5   Mr. Stephan Schurmann versus Jubilie Anqui under the Hague
08:37:25    6   Convention as well as the International Child Abduction
08:37:25    7   Remedies Act.
08:37:28    8               And Mr. Schurmann is seeking the return of the
08:37:32    9   parties' son to Spain. And I say the return. He would like
08:37:40   10   the child transported or taken to Spain to be with him.
08:37:43   11               All right. So the petition, as I said, is
08:37:48   12   Mr. Schurmann's petition. He is here by video from Spain.
08:37:50   13               Mr. Schurmann, welcome.
08:37:55   14               And he is represented in this action by Mr. Nordby,
08:37:57   15   who is here, Daniel Nordby. And Ms. Anqui is represented by
08:38:04   16   Mr. Levy, who I understand -- James Levy, you have been
08:38:07   17   admitted formally to the Court; is that correct?
08:38:09   18               MR. LEVY: Yes, Your Honor, on June 5th.
08:38:13   19               THE COURT: Thank you. And I appreciate you taking
08:38:14   20   the steps necessary to gain admission to the Court.
08:38:16   21               The Court is ready to proceed. And so, Mr. Nordby,
08:38:19   22   I'm going to call on you. This is your client's petition and
08:38:22   23   you'll proceed. You do have the burden, the initial burden.
08:38:25   24               MR. NORDBY: Thank you, Your Honor.
08:38:26   25               THE COURT: While you're walking to the lectern, let
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08:38:33    1   me ask --
08:38:33    2               Mr. Schurmann, are you hearing us fine?
08:38:33    3               (No response.)
08:38:45    4               THE COURT: Hello, Mr. Schurmann?
08:38:48    5               MR. SCHURMANN: Yes, I'm here.
08:38:50    6               THE COURT: Okay, very well. I just want to make sure
08:38:52    7   the electronics are still working.
08:38:55    8               MR. SCHURMANN: I can hear you loud and clear, ma'am.
08:38:57    9               THE COURT: Very well, thank you.
08:38:59   10               Mr. Nordby, go ahead.
08:39:01   11               MR. NORDBY: Thank you, Your Honor. May it please the
08:39:03   12   Court. My name is Daniel Nordby with the Shutts & Bowen law
08:39:07   13   firm in Tallahassee representing Stephan Schurmann in this
08:39:10   14   Hague Convention action.
08:39:13   15               And, as Your Honor noted in the introduction, the
08:39:17   16   Petitioner is asking this Court to order the return of his
08:39:21   17   son --
08:39:22   18               (Sound system interruption.)
08:39:22   19               THE COURT: It sounds like we're in an aquarium.
08:39:30   20               MR. NORDBY: I'll do my best.
08:39:32   21               THE COURT: I'm not going to hold you responsible, I
08:39:34   22   promise.
08:39:34   23               MR. NORDBY: Your Honor, we're asking the Court to
08:39:36   24   order the return of the parties' son to Spain so that the
08:39:38   25   Spanish courts can adjudicate the parties' respective custody
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08:39:43    1   rights.
08:39:43    2               If I may just start with a very brief opening
08:39:46    3   statement about the evidence that we intend to present and then
08:39:49    4   I will call my first witness.
08:39:50    5               THE COURT: All right.
08:39:53    6               MR. NORDBY: Your Honor, the Hague Convention on the
08:39:54    7   civil aspects of international child abduction was enacted to
08:39:58    8   secure the prompt return of children wrongfully removed to or
08:40:02    9   retained in any contracting state and to ensure that the rights
08:40:05   10   of custody and of access under the law's one contracting state
08:40:10   11   are effectively respected in the other contracting states. And
08:40:14   12   the central operating feature of the convention is the return
08:40:17   13   of the child to the venue of habitual residence.
08:40:21   14               We will present evidence today that the minor child
08:40:24   15   here was a habitual resident of Spain for purposes of the Hague
08:40:28   16   Convention. He was born in Spain, and he lived there with his
08:40:31   17   parents as a legal resident of Spain before the family came to
08:40:35   18   the United States on a temporary investor visa.
08:40:40   19               The habitual residence of a young child under the case
08:40:43   20   law is determined by the parents' shared expectations and
08:40:47   21   cannot be changed without mutual agreement by the parents.
08:40:50   22   There's no evidence that will be presented that the parties
08:40:53   23   intended the United States to become the child's habitual
08:40:56   24   residence.
08:40:57   25               Indeed, the mother and the child presently have no
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08:41:00    1   legal right to remain in the United States after overstaying
08:41:04    2   their temporary visas.
08:41:05    3               The evidence will also show that the Respondent
08:41:10    4   wrongfully retained the child in the United States after
08:41:13    5   December 2014 in violation of Petitioner's custody rights under
08:41:17    6   Spanish law.
08:41:18    7               The Petitioner was exercising and attempting to
08:41:22    8   exercise his custody rights at the time of the wrongful
08:41:25    9   retention. He promptly sought relief under the Hague
08:41:29   10   Convention, including through the filing of a verified petition
08:41:32   11   in this court. And he seeks to have the custody rights
08:41:35   12   determined by the courts of Spain, which is a contracting
08:41:38   13   country under the Hague Convention, as is the United States, of
08:41:43   14   course.
08:41:43   15               After a petitioner establishes a prima facie case
08:41:47   16   under the Hague Convention, a child who has been wrongfully
08:41:50   17   retained must be promptly returned unless the respondent can
08:41:55   18   establish an affirmative defense under the convention.
08:41:59   19               Only two affirmative defenses have been raised in the
08:42:02   20   response that was filed Friday, and we submit that neither of
08:42:06   21   them will be supported by the evidence or by the law.
08:42:08   22               I would be remiss -- and I'm already remiss in failing
08:42:11   23   to thank the Court and the Court's staff for their efforts to
08:42:14   24   assist me in securing the remote attendance of my client. I
08:42:19   25   greatly appreciate that.
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08:42:20    1                 THE COURT: I thank them as well. Thank you.
08:42:22    2                 MR. NORDBY: Your Honor, I'd like to call my first
08:42:26    3   witness.
08:42:26    4                 THE COURT: Yes, sir, go ahead.
08:42:29    5                 MR. NORDBY: Stephan Schurmann.
08:42:30    6                 THE COURT: Mr. Schurmann, if you would rise, please,
08:42:33    7   to be sworn. Raise your right hand, please.
08:42:48    8            STEPHAN SCHURMANN, PETITIONER WITNESS, DULY SWORN
08:42:54    9                 MADAM CLERK: Please state your full name and spell
08:42:55   10   your last name for the record.
08:42:56   11                 THE WITNESS: Stephan Schurmann, last name
08:43:00   12   S-c-h-u-r-m-a-n-n. Date of birth --
08:43:08   13                 THE COURT: That's fine, Mr. Schurmann. Thank you.
08:43:10   14   You may be seated.
08:43:11   15                 Mr. Nordby, you may proceed.
08:43:16   16                 MR. NORDBY: Thank you.
08:43:17   17                              DIRECT EXAMINATION
08:43:19   18   BY MR. NORBY:
08:43:20   19   Q.     Mr. Schurmann, good morning -- or good afternoon where you
08:43:23   20   are.
08:43:23   21   A.     Good afternoon.
08:43:23   22   Q.     Mr. Schurmann, what is your country of citizenship?
08:43:28   23   A.     Germany.
08:43:29   24   Q.     And are you currently married?
08:43:31   25   A.     Yes.
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08:43:32    1   Q.    You're married to the Respondent in this case, Jubilie
08:43:37    2   Anqui?
08:43:37    3   A.    Yes, that's correct.
08:43:38    4   Q.    When were you married?
08:43:41    5   A.    On 18 of March 2007 in Costa Rica.
08:43:47    6   Q.    And what is your wife's nationality?
08:43:52    7   A.    Philippines.
08:43:53    8   Q.    You had a child with your wife?
08:43:55    9   A.    Yes, sir.
08:43:57   10   Q.    And your son's initials are D.S.S.; is that correct?
08:44:05   11   A.    Correct, yes, sir.
08:44:05   12   Q.    And he is the subject of this Hague Convention proceeding?
08:44:12   13   A.    Yes, sir.
08:44:12   14   Q.    Okay. You verified a complaint in this case -- you signed
08:44:18   15   a complaint verifying that all of the facts in it were true.
08:44:23   16   Do you recall that?
08:44:23   17   A.    Absolutely.
08:44:24   18   Q.    And are those facts still true?
08:44:27   19   A.    Yes, they are.
08:44:27   20   Q.    Okay. I'll be going through some of them, but I wanted to
08:44:31   21   confirm that at the outset.
08:44:34   22         Where was your son born?
08:44:35   23   A.    Spain.
08:44:44   24   Q.    And when was he born?
08:44:46   25   A.    I couldn't hear the question. Would you please repeat it.
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08:44:53    1   Q.    Yes. And I'll say as well, anytime you can't hear my
08:44:56    2   questions, please feel free to ask me to repeat them.
08:45:02    3   A.    Okay.
08:45:02    4   Q.    My question was: When was your son born?
08:45:06    5               THE COURT: Excuse me just a minute.
08:45:08    6               THE WITNESS: On 22nd August 2008.
08:45:11    7               THE COURT: Just a moment. 22nd August 2008, correct?
08:45:15    8   I've just been reminded by Ms. Simms that, as any of us speak
08:45:19    9   to Mr. Schurmann, you should look at that camera there on top
08:45:27   10   of the small monitor so he will see us speaking to him.
08:45:27   11   BY MR. NORDBY:
08:45:33   12   Q.    Mr. Schurmann, I've been reminded I need to look this way
08:45:37   13   so that I'm looking at you instead of away from you. I
08:45:42   14   apologize for that.
08:45:45   15   A.    No problem.
08:45:45   16   Q.    I believe you just testified that your son was born in 2008
08:45:48   17   in Spain; is that correct?
08:45:50   18   A.    Yes, the 22nd of August 2008 in Marbella, Spain.
08:45:56   19   Q.    How long did you and your wife and son live in Spain after
08:46:00   20   he was born?
08:46:02   21   A.    Until 2010, I believe March or April 2010.
08:46:08   22   Q.    Okay. Were you a legal resident of Spain at the time?
08:46:12   23   A.    Yes, absolutely.
08:46:14   24   Q.    And was your wife a legal resident?
08:46:18   25   A.    Yes, correct.
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08:46:19    1   Q.    And your son as well?
08:46:21    2   A.    Yes, correct.
08:46:23    3   Q.    Okay. I'm going to ask you to look at the document that I
08:46:28    4   emailed to you that is labeled Exhibit 1. Could you take a
08:46:33    5   look at that.
08:46:35    6   A.    Yes, I have it right here in front of me.
08:46:40    7   Q.    Could you tell me what that is.
08:46:47    8   A.    Well, that is actually a registration which the -- which
08:46:53    9   I'd have to read it, let's see, registration with the
08:46:56   10   Government of Spain for our government insurance policies where
08:47:01   11   both my wife and myself and our child are insured under the
08:47:05   12   government insurance program.
08:47:08   13               MR. NORDBY: I'd like to have this marked as
08:47:10   14   Petitioner's Exhibit 1.
08:47:12   15               THE COURT: All right.
08:47:14   16               MR. LEVY: Judge, I'm going to go ahead and object as
08:47:16   17   to foundation. I don't believe it's interpreted as well.
08:47:24   18               THE COURT: I'm sorry, I don't understand what your
08:47:25   19   objection is.
08:47:27   20               MR. LEVY: He's saying it's an insurance policy and
08:47:29   21   I'm not --
08:47:31   22               THE COURT: Mr. Levy, you're admitted, so I know
08:47:35   23   you're familiar with our local rules, and they require you to
08:47:38   24   stand when you address the Court.
08:47:40   25               MR. LEVY: I apologize, Your Honor.
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08:47:41    1               THE COURT: That's all right.
08:47:42    2               MR. LEVY: I'm looking at what's been submitted. It's
08:47:46    3    not interpreted, and it's -- I guess he's stating that it's an
08:47:49    4    insurance policy. And I just don't know if they've established
08:47:53    5    the proper foundation for that at this point.
08:47:56    6               THE COURT: All right. Mr. Nordby, it's in Spanish,
08:48:00    7    so I -- do you have -- is there any better way that you can
08:48:06    8    authenticate this or -- I see that it has a stamp, but it's not
08:48:12    9    a raised -- it's not the original.
08:48:18   10               THE WITNESS: Mr. Nordby, may I explain it in more
08:48:21   11    detail?
08:48:22   12               THE COURT: Excuse me, Mr. Schurmann. You're witness
08:48:23   13    right now, and so you can only speak when a question is
08:48:27   14    directed to you.
08:48:29   15               THE WITNESS: Okay.
08:48:30   16               THE COURT: Thank you.
08:48:32   17               Mr. Nordby, I'm not familiar with a policy of
08:48:36   18    insurance issued by any country, and so I'm not sure that this
08:48:42   19    is what you purport it to be. Is there any better way you can
08:48:47   20    verify that?
08:48:51   21               MR. NORDBY: Your Honor, unfortunately, I don't know
08:48:53   22    that there is, so I may just have to -- I may just have to ask
08:48:58   23    him to testify as to some of this without the benefit of the
08:49:01   24    exhibit.
08:49:02   25               THE COURT: All right. The objection will be
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08:49:03    1    sustained.
08:49:07    2    BY MR. NORBY:
08:49:08    3    Q.   Mr. Schurmann, did you, in fact, have health insurance as
08:49:10    4    to you and your family when you were living in Spain?
08:49:15    5    A.   Yes, we had it under the government-offered program, and we
08:49:19    6    had it as a private insurance.
08:49:21    7    Q.   Okay. Thank you.
08:49:22    8               THE COURT: I'm sorry, did he say that he had both
08:49:27    9    government issued insurance as well as private insurance?
08:49:31   10               MR. NORDBY: Yes, that's what I understood him to say.
08:49:34   11               THE COURT: Thank you.
08:49:36   12    BY MR. NORBY:
08:49:36   13    Q.   Mr. Schurmann, I'd like you to take a look at Exhibit 2, if
08:49:40   14    you would, the document that I've previously marked for you.
08:49:44   15    A.   Okay, I have it here.
08:49:46   16    Q.   And can you tell me what that is?
08:49:50   17    A.   That is from the minister of the -- (inaudible) -- for
08:49:55   18    self-employed entrepreneurs. That is my Social Security
08:50:01   19    contribution to the government of Spain as a self-employed
08:50:04   20    entrepreneur.
08:50:05   21    Q.   And when you were in Spain, did you make Social Security
08:50:08   22    contributions as an entrepreneur?
08:50:12   23    A.   In Marbella, Spain.
08:50:17   24    Q.   Okay. And I'd like you to look at the document marked No.
08:50:21   25    3 as well.
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08:50:24    1    A.   Okay.
08:50:24    2    Q.   Mr. Schurmann, could you tell me what this document
08:50:35    3    represents?
08:50:36    4    A.   Yes. This is an official certificate from the government
08:50:39    5    of Spain that we are official residents with our NIE number,
08:50:48    6    and the NIE number will be similar like a Social Security
08:50:52    7    number in American terms. So page number one is my NIE number,
08:50:57    8    and page number two is the NIE number of my wife, which is
08:51:02    9    obviously still valid and in existence.
08:51:04   10    Q.   And is that consistent with your testimony earlier that you
08:51:08   11    and your family were legal residents of Spain at the time you
08:51:12   12    resided there from approximately 2008 through 2010?
08:51:16   13    A.   Well, we actually are still residents because I never gave
08:51:23   14    up our domicile. I always kept it because I knew the visit to
08:51:27   15    America was temporary only through the investor visa.
08:51:30   16    Q.   And Mr. Schurmann, we'll be talking about that. I was just
08:51:34   17    asking you about those specific documents.
08:51:37   18    A.   Okay.
08:51:38   19    Q.   I'd like you to look now at the document I've marked No. 6,
08:51:48   20    if you would, please.
08:51:49   21    A.   Okay. I have it here.
08:51:51   22    Q.   Mr. Schurmann, could you tell me what that document is.
08:51:57   23    A.   That's the official registration at the town hall in
08:52:02   24    Benahavis which confirms the residence of Family Schurmann,
08:52:07   25    including myself, my wife, and our son together with the NIE
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08:52:12    1    numbers of the parents.
08:52:19    2    Q.   And finally, I'd like you to look at the document I've
08:52:22    3    marked No. 9 and sent to you.
08:52:30    4    A.   Okay.
08:52:30    5    Q.   Mr. Schurmann, could you tell me what that document is.
08:52:37    6    A.   That's a copy of a membership card for the private health
08:52:40    7    insurance for my son, and also I have one for myself.
08:52:47    8    Q.   So you said that at some point in the year 2010 you and
08:52:56    9    your family left Spain; is that correct?
08:52:59   10    A.   Yes, sir.
08:53:02   11    Q.   For what purpose did you leave?
08:53:04   12    A.   It was business purpose, to set up a master franchise for
08:53:14   13    the Sterling Group in the Philippines which was for the country
08:53:17   14    of the United States.
08:53:17   15    Q.   And when did you travel to the Philippines?
08:53:20   16    A.   I believe we traveled in -- wait a second. I believe we
08:53:29   17    traveled in April 2010 to the Philippines. We stayed there for
08:53:35   18    about six months until I had arranged all the legal paperwork
08:53:38   19    for the master franchise, and then we applied from there for
08:53:43   20    the E-2 investor visas to go to the United States.
08:53:45   21    Q.   What sort of travel documents did you have to travel from
08:53:49   22    Spain to the Philippines?
08:53:53   23    A.   I had my German passport, my son had his German passport,
08:53:57   24    and my wife had her Filipino passport.
08:54:01   25    Q.   Before traveling to the Philippines, did you apply for any
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08:54:04    1    sort of permanent residence in the Philippines?
08:54:06    2    A.   No, never.
08:54:08    3    Q.   Did you intend to remain permanently in the Philippines?
08:54:15    4    A.   Never.
08:54:16    5    Q.   At some point after you traveled to the Philippines, you
08:54:22    6    came to the United States. When was that approximately?
08:54:26    7    A.   That was in October of 2010.
08:54:30    8    Q.   And why did you come to the United States? Could you
08:54:33    9    explain some of the history of why you came here.
08:54:38   10    A.   Yes. I purchased a master franchise for the United States
08:54:42   11    for a construction technology which was under the brand name
08:54:47   12    Plaswall Manufacturing. And I paid a lot of money to the
08:54:53   13    franchisor. And I believe six months later in June or July of
08:55:00   14    2011 I resigned from the master franchisor due to illegal
08:55:05   15    activities he involved himself in and due to completely lack of
08:55:08   16    support to help me set up the manufacturing plant in the United
08:55:10   17    States. He took my money but he never came to help me, so it
08:55:13   18    was a total disaster.
08:55:16   19    Q.   What sort of visa did you secure when you came to the
08:55:21   20    United States?
08:55:23   21    A.   My visa was an E-2 investor visa, and my wife and my child
08:55:33   22    became as dependent spouse and dependent child on my E-2
08:55:38   23    investor visa, as I was the main applicant.
08:55:41   24    Q.   Is an E-2 investor visa, to your knowledge, valid
08:55:45   25    indefinitely or for a certain period of time?
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08:55:48    1    A.   It's only limited to two years.
08:55:50    2    Q.   Did you intend to remain permanently in the United States
08:55:53    3    when you came here on an E-2 investor visa?
08:55:58    4    A.   No, sir, never.
08:55:59    5    Q.   So how long was that visa valid?
08:56:02    6    A.   It was valid, I believe, until August 2012. Then after the
08:56:11    7    expiration I tried to renew it because I had already lost a
08:56:15    8    substantial amount of money, and I tried to sell my machinery
08:56:19    9    and equipment, wanted to renew the visa for another period.
08:56:22   10    That was rejected for unknown reasons. And from that day
08:56:26   11    forward we became illegal, and by that time I had already
08:56:32   12    $750,000 lost in the United States due to my failed -- (lost
08:56:38   13    transmission) -- business activities.
08:56:40   14    Q.   You mentioned earlier that you intended to maintain some
08:56:45   15    presence in Spain after you left to go to the Philippines.
08:56:48   16    What contacts did you maintain with Spain after you came to the
08:56:51   17    United States on your investor visa?
08:56:55   18    A.   Well, I kept originally my domicile. I never unascribed
08:57:00   19    myself. Before I met my wife I was already a long-term
08:57:04   20    resident in Spain, and I brought her here, so I helped her with
08:57:09   21    all the legal documents. And I never applied anywhere else for
08:57:13   22    legal residence because I knew my business trip was temporary.
08:57:19   23    Q.   Now, after you came to the United States, you and your
08:57:21   24    family lived in several different locations here; is that
08:57:24   25    correct?
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08:57:24    1    A.   Yes, sir.
08:57:26    2    Q.   What was the first place you lived in the United States
08:57:29    3    after coming here in October of 2010?
08:57:32    4    A.   The first place was Birmingham, Alabama, where we
08:57:39    5    established an ultra manufacturing implant for our concrete
08:57:44    6    technology. That failed about a year later. The franchisor,
08:57:48    7    after I resigned, started giving a -- or he presented a corrupt
08:57:53    8    association company over the Internet, destroyed the reputation
08:57:57    9    of my business, took from me more than $750,000.
08:58:01   10         I tried to set up a second company, Power Concrete, Inc.
08:58:05   11    He destroyed it, too. So by that time I had very little money
08:58:11   12    left, so I tried, obviously, to recoup by selling my equipment
08:58:14   13    and going back to Europe.
08:58:18   14    Q.   Where did you move to after Birmingham?
08:58:21   15    A.   We went to Alabaster, Alabama. We started getting short of
08:58:28   16    money, so we rented a temporary -- a small two bedroom
08:58:32   17    apartment, which was close to the existing factory, and I
08:58:37   18    believe we stayed there for six months.
08:58:40   19    Q.   And after Alabaster, Alabama, where did you and your family
08:58:46   20    move?
08:58:51   21    A.   I moved with them to Destin, Florida. I had a business
08:58:54   22    trip there, and then I went with my wife and my son on a spring
08:58:57   23    break, which was somewhere at the end of 2012.
08:59:01   24         And both my wife and I enjoyed the area, and we said, Look,
08:59:05   25    until we sort out everything with immigration and hopefully the
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08:59:09    1    extension will work for another two years, let's live here, at
08:59:12    2    least we'll have a better surrounding for our child close to
08:59:15    3    the beach, because Alabaster was quite depressing.
08:59:20    4    Q.   And was it while you were in Destin that your temporary
08:59:24    5    visa expired?
08:59:26    6    A.   Yes, sir, it was expired. I hired a second immigration
08:59:29    7    attorney, I paid him $2,500. He wrote one letter to the USCIS,
08:59:36    8    never heard anything again from him.
08:59:39    9    Q.   You and your family did not immediately return to Spain
08:59:43   10    after your visa expired, did you?
08:59:47   11    A.   That's correct, sir.
08:59:48   12    Q.   Did you intend to remain in the United States permanently
08:59:52   13    with your wife and son at that point?
08:59:56   14    A.   No, sir, because I had officially no legal rights to ever
09:00:00   15    obtain a job. I have no Social Security number. I never
09:00:03   16    applied to become a green card holder. I never applied for an
09:00:08   17    American driver's license. I just said if I get extended one
09:00:12   18    more time I'll be able to sell my equipment to an investor, and
09:00:16   19    I will be able to recoup part of my money and then return back
09:00:20   20    home.
09:00:20   21    Q.   Did you apply at any time for immigration documents to
09:00:22   22    return to Europe?
09:00:23   23    A.   Yes, sir, I did.
09:00:26   24    Q.   Okay. I'd like you to take a look at the document I marked
09:00:31   25    Exhibit 5, if you could.
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09:00:40    1    A.   Yes, I have it here.
09:00:45    2    Q.   Mr. Schurmann, could you tell me what this is.
09:00:49    3    A.   Yes. This is actually a Schengen visa application on
09:00:55    4    behalf of my wife which I sponsored as her husband where she is
09:00:59    5    the dependent spouse of a European citizen. And we signed the
09:01:03    6    application on July 11, 2013, showing our intent to go already
09:01:08    7    back to Europe because we were almost feeling like we were on a
09:01:12    8    sinking ship in the United States. Everything starting working
09:01:15    9    against us.
09:01:16   10    Q.   Could you explain what a Schengen visa is?
09:01:21   11    A.   Yes. A Schengen visa is a special visa application where
09:01:24   12    you can enter one country of the Schengen visa member
09:01:30   13    countries, and once you have the Schengen visa you can travel
09:01:33   14    in all the Schengen countries without applying for a separate
09:01:38   15    visa.
09:01:39   16    Q.   Now, Mr. Schurmann, as an EU citizen, did you require a
09:01:52   17    visa to return to Europe?
09:01:54   18    A.   No. I can live in 27 European Union countries without any
09:01:59   19    permit due to the fact I'm a German citizen, and the same rules
09:02:02   20    apply for my son.
09:02:04   21    Q.   And so this visa application here was intended for your
09:02:09   22    wife; is that correct?
09:02:09   23    A.   Yes, that's correct, due to the fact that she's a Filipino
09:02:16   24    citizen, and she is a dependent spouse of a European citizen,
09:02:20   25    we needed to comply with the visa rules and regulations.
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09:02:24    1    Q.   And what country were you seeking to enter with this visa?
09:02:27    2    A.   We signed actually with the Italian embassy in Florida.
09:02:37    3    Jubilie signed the application herself, and I gave a sort of
09:02:40    4    sponsor letter as her husband that I would be responsible
09:02:43    5    obviously for her travel expenses and for her financials in
09:02:46    6    order to bring her back to Europe.
09:02:48    7    Q.   What languages are present on this visa application?
09:02:51    8    A.   The language is English.
09:02:56    9    Q.   In addition to Italian?
09:03:00   10    A.   Yes, it's double language, which is Italian and second part
09:03:09   11    is English.
09:03:11   12    Q.   Thank you.
09:03:12   13               MR. NORDBY: I offer this as Petitioner Exhibit No. 1.
09:03:16   14               MR. LEVY: No objection, Your Honor.
09:03:17   15               THE COURT: Did you say No. 1?
09:03:20   16               MR. NORDBY: No. 2.
09:03:22   17               THE COURT: We've marked the other ones -- although
09:03:24   18    they weren't admitted, we've marked them for the record, so
09:03:28   19    this would be, I believe -- we didn't have a 4 or 5.
09:03:32   20               MADAM CLERK: I think he just referred to this as
09:03:35   21    No. 5.
09:03:35   22               MR. NORDBY: Yes, No. 5, for identification purposes
09:03:38   23    it's No. 5.
09:03:39   24               THE COURT: Well, are you seeking to admit it?
09:03:42   25               MR. NORDBY: Yes, I am seeking to admit it.
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09:03:44    1                THE COURT: It will be Petitioner No. 5. That would
09:03:46    2    be admitted without objection.
09:03:49    3                (Petitioner Exhibit 5 admitted into evidence.)
09:03:56    4    BY MR. NORBY:
09:03:57    5    Q.   Mr. Schurmann, at some point in the year 2014 you traveled
09:04:00    6    to Pennsylvania; is that correct?
09:04:02    7    A.   Yes, sir.
09:04:09    8    Q.   Could you explain why.
09:04:11    9    A.   Well, we had -- in June, July we started running out of
09:04:14   10    money desperately. I couldn't pay the rent anymore for our
09:04:18   11    local apartment in Destin, Florida. And a business partner in
09:04:23   12    Pennsylvania offered me with some financials, and he said,
09:04:28   13    Look, come up here with your family. We're friends. And I'll
09:04:33   14    help you to reestablish the business and relocate you back to
09:04:36   15    Europe.
09:04:47   16    Q.   I'd like you to look at Exhibit No. 4, please.
09:04:50   17    A.   Yes, I have it here.
09:04:52   18    Q.   Mr. Schurmann, could you tell me what this document is.
09:04:54   19    A.   Yes. This is a limited power of attorney which I notarized
09:04:58   20    in my first week when I was in Pennsylvania. It's dated on the
09:05:03   21    4th August 2014, and I sent this to the address which my wife
09:05:09   22    gave me where she pretended to reside.
09:05:13   23    Q.   And what was the purpose of executing this limited power of
09:05:17   24    attorney?
09:05:20   25    A.   Well, it has various reasons. The first one was,
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09:05:22    1    obviously, if she needed to go to the doctors or anywhere else,
09:05:26    2    let's say, for emergency cases, then she has my authorization.
09:05:31    3    And then on page 2 it says very clearly that, "It is my
09:05:37    4    expressed intent to return with my wife and my son to Europe.
09:05:41    5    And I am not granting my Attorney-in-Fact the authority to
09:05:45    6    relocate the minor child to any other country outside the
09:05:49    7    European Union or take actions that will take the minor child's
09:05:53    8    status as a German citizen. I do not consent" --
09:05:57    9                THE COURT: He really needs to stop.
09:05:57   10    BY MR. NORDBY:
09:06:00   11    Q.   Mr. Schurmann, one thing I forgot to advise you at the
09:06:03   12    outset is there's a court reporter here transcribing what
09:06:07   13    you're saying, so please speak slowly to make her job easier.
09:06:09   14                THE COURT: But wait. Even more fundamental is the
09:06:13   15    problem that the exhibit is not yet admitted and he's reading
09:06:16   16    from it.
09:06:16   17                Any objection to the admission of the exhibit,
09:06:19   18    Mr. Levy?
09:06:20   19                MR. LEVY: No objection, Your Honor.
09:06:21   20                THE COURT: Thank you. Petitioner's 4 is admitted.
09:06:25   21                (Petitioner Exhibit 4 admitted into evidence.)
09:06:30   22                THE COURT: You may read from it, Mr. Schurmann, but
09:06:33   23    slowly, please.
09:06:34   24    BY MR. NORBY:
09:06:35   25    Q.   Mr. Schurmann, could you read slowly the sentences that you
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09:06:38    1    read from paragraph 7 of this exhibit.
09:06:40    2    A.   Okay. "It is my expressed intent to return with my wife
09:06:44    3    and my son to Europe at the conclusion of my business trip to
09:06:49    4    Pennsylvania. I am not granting my Attorney-in-Fact the
09:06:54    5    authority to relocate the minor child to any other country
09:06:58    6    outside of the European Union or to take any actions that would
09:07:03    7    change the minor child's status as a German citizen. I do not
09:07:08    8    consent to the minor child remaining as an illegal resident of
09:07:12    9    the United States, nor do I consent to him obtaining legal
09:07:17   10    residency and/or a second citizenship in the Philippines."
09:07:23   11    Q.   Mr. Schurmann, why did you execute this Limited Power of
09:07:27   12    Attorney when you were in Pennsylvania?
09:07:30   13    A.   Well, I did it for two reasons. First, to give my wife
09:07:37   14    legal authority in case there was an emergency going to the
09:07:40   15    hospital where she needed my permission as a father and
09:07:44   16    obviously she had custody holder, and the second permission is
09:07:48   17    that she doesn't do anything which would jeopardize the future
09:07:52   18    of my son.
09:07:53   19    Q.   While you were in Pennsylvania, did you maintain contact
09:08:02   20    with your family?
09:08:03   21    A.   Yes, on a daily basis I called always back, I spoke with my
09:08:09   22    wife on a daily basis and with my son, D.S.S.
09:08:19   23    Q.   I'd like you to look at Exhibit 8, please.
09:08:26   24    A.   Yes, sir, I have it here.
09:08:33   25    Q.   I'd just ask you to identify what this is, and then I'll
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09:08:36    1    seek to have it admitted before I ask you more questions about
09:08:39    2    it. Could you tell me what this is, please? Mr. Schurmann,
09:08:45    3    could you tell me what this document is?
09:08:48    4    A.   I'm sorry. I'm sorry. I'm getting all emotional. Give me
09:09:01    5    a minute. I have to calm down.
09:09:09    6         I prepared this PowerPoint as a special present for my --
09:09:20    7    for my son to show him how much I love him and how proud I am
09:09:33    8    of him, what a beautiful child he has become over the last six
09:09:37    9    years. And I'm so, so sorry that I couldn't be with him
09:09:41   10    because I was 1200 miles away in Pennsylvania so I sent him
09:09:44   11    this to show him my appreciation and my love and that Daddy is
09:09:49   12    there for him and thinks about him. And I attached a gift
09:09:55   13    certificate from Wal-Mart for $50 so he can buy himself a
09:10:00   14    birthday present.
09:10:01   15    Q.   Thank you, Mr. Schurmann.
09:10:03   16               MR. NORDBY: I'd like to have this admitted as
09:10:05   17    Exhibit 8.
09:10:09   18               MR. LEVY: No objection, Your Honor.
09:10:10   19               THE COURT: Thank you, 8 is admitted.
09:10:13   20               (Petitioner Exhibit 8 admitted into evidence.)
09:10:19   21    BY MR. NORDBY:
09:10:19   22    Q.   You said you sent this to your son for his birthday. When
09:10:23   23    is his birthday? What month is his birthday?
09:10:25   24    A.   22nd August. And that was 22nd August of 2014 when he
09:10:32   25    turned six years old.
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09:10:34    1    Q.   And you sent this to him while you were away in
09:10:37    2    Pennsylvania?
09:10:50    3    A.   Yes, sir.
09:10:50    4    Q.   And I'd like you now to look at No. 7, if you could.
09:10:56    5    A.   Yes, I have it right here, sir.
09:11:00    6    Q.   Mr. Schurmann, could you tell me just what this is. What
09:11:05    7    is No. 7, so that I can have it admitted?
09:11:08    8    A.   This is a letter I received from my son which was sent on
09:11:13    9    the 7th October 2014 to my address in Pennsylvania, which is
09:11:21   10    actually the office address of my partner. And D.S.S. wrote
09:11:27   11    me, "To Daddy, I" -- do you want me to read it?
09:11:32   12               THE COURT: Not yet.
09:11:33   13               MR. NORDBY: Just one second. Let me seek to have it
09:11:37   14    admitted as Petitioner's No. 7.
09:11:40   15               MR. LEVY: No objection.
09:11:41   16               THE COURT: Thank you. Petitioner's 7 is admitted.
09:11:44   17             (Petitioner's Exhibit 7 admitted into evidence).
09:11:47   18    BY MR. NORBY:
09:11:47   19    Q.   Mr. Schurmann, could you tell me what this represents?
09:11:50   20    A.   Well, D.S.S. wrote me a letter where he says, "Daddy, I" --
09:11:58   21    (witness crying) -- "I miss you -- I miss you so much. I love
09:12:08   22    you, Daddy, really much. You teach me cool stuff. You help me
09:12:15   23    climb trees. I'm standing on top of the building. Love,
09:12:19   24    D.S.S." Right here.
09:12:22   25    Q.   Thank you, Mr. Schurmann. And the second page of this
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09:12:31    1    document has a postage stamp, as you said, October 7th, 2014,
09:12:36    2    while you were in Pennsylvania?
09:12:40    3    A.   Yes, sir.
09:12:40    4    Q.   When did you return to Destin from Pennsylvania?
09:12:46    5    A.   On the 13 of December 2014.
09:12:52    6    Q.   Did you -- did you attempt to see your family when you
09:12:55    7    returned to Destin?
09:13:00    8    A.   Yes, the same day.
09:13:02    9    Q.   At some point your wife filed in the state courts of
09:13:12   10    Florida for a dissolution of marriage -- for a divorce and for
09:13:19   11    a timesharing custody plan. Do you know what month that was?
09:13:28   12    A.   That was December 2014, the 19th to be exact.
09:13:33   13    Q.   Okay. Did you consent to your son remaining in the United
09:13:37   14    States at that point?
09:13:38   15    A.   Never, sir.
09:13:41   16    Q.   Did you know before that time that your wife intended to
09:13:45   17    retain your son in the United States?
09:13:48   18    A.   Well, what I figured out after my return that she actually
09:13:53   19    concealed him under fake addresses which is shown on the
09:14:00   20    envelope of D.S.S. This address is 270 Vinings Way Boulevard,
09:14:06   21    Unit 4103, which was an address she never lived. According to
09:14:11   22    her own divorce petition, she lived at the address of her
09:14:15   23    boyfriend from August 2014 until December 17 and until today.
09:14:21   24    Q.   At some point after the divorce petition was filed, did you
09:14:26   25    become aware that a state court judge had ordered you not to
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09:14:29    1    leave the country with your son?
09:14:31    2    A.   Yes, I found that out actually in the last minute, yes,
09:14:36    3    that's correct.
09:14:37    4    Q.   Okay. Could you explain how that came about?
09:14:40    5    A.   Well, on the 15th of December I brought my son to school, I
09:14:52    6    prepared him lunch, I picked him up at school. And on the 16th
09:14:58    7    -- or actually, on the 15th at 2 a.m. in the morning into the
09:15:04    8    night on the 16th, my wife called the police, demanded my son
09:15:09    9    back, and the police said, "Well, that's a private dispute,
09:15:13   10    Mr. Schurmann. You better get yourself a lawyer," and I said,
09:15:16   11    "Okay." So they forced me to hand over my son to the so-called
09:15:22   12    biological mother, and I said "I'm the biological father."
09:15:28   13    "Well, she told us you abandoned your family." And I said,
09:15:31   14    "That's not true."
09:15:32   15         Anyways, on December 16th I went back to the school, tried
09:15:35   16    to pick up D.S.S. like I did the day before, and I realized she
09:15:39   17    took me off the school pick-up, I was refused to pick up my
09:15:42   18    son. On the same afternoon she escaped with my son to an
09:15:46   19    unknown location in Alabama for three days. I filed an
09:15:50   20    emergency injunction on the 17th, which was granted a hundred
09:15:54   21    percent to me for temporary custody, and then they returned
09:15:59   22    voluntary on the 19th and I was served with divorce papers.
09:16:03   23    Q.   Okay. What did you do after you were served with divorce
09:16:08   24    papers?
09:16:09   25    A.   Well, first of all, I was in an extremely terrible state of
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09:16:18    1    mind. I was an emotional mess. I was panicking that my son
09:16:23    2    was never coming back. So I picked up my son that was at the
09:16:28    3    -- the next day he was at the hands of police officers, and I
09:16:31    4    picked him up at eleven p.m. in the night. And I immediately
09:16:36    5    went with a pastor friend, who was with me, I went to his
09:16:42    6    house, we stayed over the night.
09:16:44    7         I went in the morning to the German embassy in Miami. I
09:16:49    8    told them what happened, and they issued me a passport within
09:16:52    9    30 minutes, and they said, "Mr. Schurmann, you better get out
09:16:55   10    of the country to make sure you can have proper custody
09:16:59   11    proceedings in the United States."
09:17:00   12         So due to the fact I was panicking and freaking out and
09:17:03   13    trying to protect my son, I booked a flight to Germany with the
09:17:10   14    end result going to Spain. And I received -- on the next
09:17:16   15    morning before I was trying to leave the country I received an
09:17:21   16    email from my lawyer, and he said, "There's an emergency
09:17:25   17    motion. You are not allowed to leave the country." And I
09:17:28   18    said, "Okay, I'll return." So I went back to Destin, and I had
09:17:32   19    to return my son back to the mother.
09:17:35   20    Q.   So you returned to Okaloosa County after your attorney
09:17:40   21    called you?
09:17:41   22    A.   Yes, absolutely, sir, I turned around immediately.
09:17:45   23    Q.   Were you aware that there was a warrant issued requiring
09:17:50   24    you to surrender your child?
09:17:53   25    A.   No, I was not aware about an arrest warrant, but I found
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09:17:57    1    out about five days ago by looking into the court documents
09:18:02    2    which I was able to retrieve that there was an arrest warrant.
09:18:07    3    There were five different documents, and the arrest warrant was
09:18:10    4    issued for me to attempting leaving the country which was
09:18:14    5    around the 22nd of December 2014.
09:18:18    6    Q.   At some point you did leave the United States?
09:18:21    7    A.   Yes. I left in February 2015, on the 20th to be exact.
09:18:31    8    Q.   And where did you go to, which country?
09:18:34    9    A.   I flew first to Germany, and then I continued going to
09:18:41   10    Spain.
09:18:42   11    Q.   Could you legally reenter the United States if you wanted
09:18:44   12    to do so now?
09:18:45   13    A.   Not in the next ten years. I'm banned from reentering due
09:18:52   14    to overstaying my E-2 investor visa.
09:18:56   15    Q.   What legal efforts have you taken in Spain to secure your
09:18:59   16    son's return?
09:19:01   17    A.   I filed immediately a petition under the Hague Convention
09:19:06   18    which I submitted to the Central authority on the 13 of April
09:19:12   19    2015, which was about four months after the wrongful retention.
09:19:17   20    And then I informed the Central authority in Washington, D.C.
09:19:22   21    about the same procedures. They started communicating with me
09:19:25   22    back and forth, opened a case number, gave me a case number,
09:19:28   23    and I filed a few other things which I'm not disclosing at this
09:19:36   24    moment.
09:19:38   25               THE COURT: I didn't hear what he just said. Oh, he
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09:19:41    1    filed a few other things, okay.
09:19:47    2    BY MR. NORBY:
09:19:47    3    Q.   I'm going to ask you a couple of questions about some
09:19:50    4    allegations that were made in the response filed by your wife
09:19:54    5    last Friday. Did you have an opportunity to read that
09:19:57    6    response?
09:19:57    7    A.   Uh-huh.
09:20:00    8    Q.   Okay.
09:20:02    9    A.   Absolutely.
09:20:03   10    Q.   There was a reference in the response to a letter that you
09:20:07   11    wrote to a state court judge who was handling the divorce
09:20:12   12    proceedings and the custody proceedings. Do you recall that?
09:20:15   13    A.   Yes, sir, I do.
09:20:19   14    Q.   Could you explain the circumstances that led to that letter
09:20:24   15    or email being written?
09:20:28   16    A.   Well, I mentioned the original Hague petition which was
09:20:34   17    filed on the 13th of April and -- let me look into it quick.
09:20:40   18    That was on page 9 of 15 pages where I said "Judge Mary Koch
09:20:49   19    Polson has ignored her own laws which you can see below. U.S.
09:20:55   20    federal law: International Parental Child Abduction. Persons
09:20:58   21    should not be permitted to obtain custody by virtue of wrongful
09:20:59   22    removal or retention."
09:21:00   23         And then, "Florida State law: Deprive another person of
09:21:05   24    his right to custody under Florida Statute 787.03. In the
09:21:13   25    absence of a court order determining rights of custody or
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09:21:17    1    visitation with any minor is a criminal offense."
09:21:21    2    Q.   And you're reading now, I think, from one of the exhibits
09:21:23    3    to the verified petition in this case?
09:21:25    4    A.   Yes, sir, I'm reading from my original Hague petition on
09:21:32    5    page 9.
09:21:34    6    Q.   Mr. Schurmann, looking back on that email today, what are
09:21:39    7    your feelings on that email that you wrote to the state court
09:21:42    8    judge?
09:21:43    9    A.   Well, when I wrote it, which was on the 27 of February
09:21:50   10    2015, after we had the family court here which was somewhere
09:21:54   11    around the 29 of January 2015. I felt extremely mistreated by
09:22:02   12    a state judge ignoring her own laws, putting a child's future
09:22:08   13    into jeopardy.
09:22:09   14         And I remember being in the courtroom speaking after the
09:22:11   15    two-hour hearing with Judge Polson, and I said, "Your Honor,
09:22:15   16    you know by now we are all illegally in the country. I have no
09:22:19   17    money. I have no right to work. I cannot sustain myself. I
09:22:23   18    need to go back home. I need to start working and rebuild the
09:22:26   19    life of our family."
09:22:28   20         She said, "Mr. Schurmann, you can leave anytime. Your
09:22:31   21    child stays here." So she took my child virtually hostage even
09:22:35   22    though these laws tell otherwise. So I felt frustrated, upset,
09:22:41   23    panicking about the future of my child.
09:22:45   24    Q.   Okay. I'm going to ask you about another allegation in the
09:22:49   25    response. Mr. Schurmann, have you ever physically abused your
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09:22:53    1    son?
09:22:54    2    A.     Never.
09:22:55    3    Q.     Have you ever psychologically abused your son?
09:22:58    4    A.     Never.
09:23:00    5    Q.     Is there any risk at all that you would do so if he were
09:23:04    6    returned to you?
09:23:05    7    A.     Never.
09:23:12    8           (Witness crying.)
09:23:15    9    Q.     Mr. Schurmann, if your son is returned and the custody
09:23:22   10    decisions are made by the Spanish courts, would you abide by
09:23:27   11    those custody determinations?
09:23:28   12    A.     Absolutely. I have no issues regarding shared custody.
09:23:34   13    Whatever the Spanish court decides, I will be happy with it. I
09:23:37   14    believe that both parents should be in the life of a child. He
09:23:41   15    needs both of us to have a feeling of security and appreciation
09:23:48   16    for both parents.
09:23:50   17                MR. NORDBY: Thank you, Mr. Schurmann. I have no
09:23:52   18    further questions.
09:23:52   19                THE COURT: All right. Thank you.
09:23:53   20                Mr. Levy?
09:23:56   21                MR. LEVY: Thank you, Your Honor. Judge, may I
09:24:07   22    approach?
09:24:07   23                THE COURT: Yes.
09:24:08   24                MR. LEVY: I've got premarked exhibits. And I may not
09:24:11   25    use or introduce all of them, but just for convenience.
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09:24:14    1               THE COURT: That's fine. I'll only look at those that
09:24:17    2    are admitted. Thank you. I appreciate the copies. Thank you.
09:24:19    3               I'm assuming -- Mr. Nordby, have you seen these?
09:24:36    4               MR. NORDBY: I was provided a copy today. Thank you,
09:24:38    5    Your Honor.
09:24:38    6               THE COURT: Mr. Levy, when you're ready for cross.
09:24:41    7                               CROSS-EXAMINATION
09:24:43    8    BY MR. LEVY:
09:24:44    9    Q.   Mr. Schurmann, where are you located right now? What
09:24:46   10    office?
09:24:47   11    A.   I'm sitting in the offices of Regus in Marbella.
09:24:53   12    Q.   And I'm sorry, you said Bahia, the Regus office in Bahia?
09:25:01   13    A.   In Marbella, Spain.
09:25:07   14    Q.   And what is -- it is currently -- do you know what the time
09:25:15   15    difference between Pensacola, Florida and Marbella, Spain is?
09:25:22   16    A.   Yes. According to my information, it's seven hours, we are
09:25:27   17    seven hours ahead of Pensacola.
09:25:33   18    Q.   Okay, sir. And where are you currently living in Spain?
09:25:46   19    Sir, where do you live in Spain?
09:25:48   20    A.   In Benahavis.
09:25:53   21    Q.   Can you give me the full address?
09:25:56   22    A.   Yeah, it's 29679 in Benahavis, Malaga, Spain.
09:26:04   23               THE COURT: Mr. Schurmann, could you please repeat
09:26:07   24    that slowly.
09:26:11   25               THE WITNESS: The address is Benahavis. The zip code
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09:26:16    1    is 29679, Malaga, Spain.
09:26:24    2    BY MR. LEVY:
09:26:24    3    Q.   Do you own or rent that residence?
09:26:26    4    A.   Come again, please.
09:26:29    5    Q.   Do you own that residence that you're living in right now?
09:26:34    6    A.   It's rented.
09:26:37    7    Q.   And is that furnished or unfurnished?
09:26:41    8    A.   It's partially furnished and other furniture is my own.
09:26:46    9    Q.   And where did that furniture come from?
09:26:50   10    A.   It came out of storage where I put things in.
09:26:57   11    Q.   Okay. And where were you storing that furniture?
09:27:01   12    A.   Can you repeat the question, please.
09:27:05   13    Q.   What -- what was the name of the company where you stored
09:27:08   14    that furniture?
09:27:09   15    A.   I stored it with some private friends in their garage.
09:27:17   16    Q.   Okay. And where is your office located in Spain?
09:27:24   17    A.   Right now I'm working from home.
09:27:30   18    Q.   Okay, sir. And did you -- did you at any time submit
09:27:48   19    yourself to the jurisdiction of a Florida court in a
09:27:52   20    dissolution of marriage action?
09:27:54   21    A.   Commit myself to a Florida court in what -- in what
09:27:59   22    relation?
09:28:01   23    Q.   Do you recall a divorce case that's pending in Okaloosa
09:28:07   24    County?
09:28:07   25    A.   Yes, sir, I do.
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09:28:08    1    Q.   Okay. And do you recall reading your wife's petition for
09:28:17    2    divorce?
09:28:19    3    A.   Mr. Levy, we are talking about the Hague petition, not
09:28:26    4    about the divorce case.
09:28:27    5               MR. LEVY: Your Honor, I'd ask you to instruct him to
09:28:29    6    answer the question.
09:28:30    7               THE COURT: Mr. Schurmann, you're going to need to
09:28:32    8    answer the questions.
09:28:33    9               THE WITNESS: Okay. Yes, I recall the divorce
09:28:37   10    petition in Okaloosa County.
09:28:41   11    BY MR. LEVY:
09:28:42   12    Q.   Okay. And do you recall if at that time you raised the
09:28:47   13    issue of being a resident of Spain?
09:28:55   14    A.   You mean at the time when the petition was filed?
09:29:00   15    Q.   At the time that you filed your response, did you raise the
09:29:03   16    issue that you're raising here today, that you're resident of
09:29:09   17    Spain?
09:29:10   18    A.   I told the Court that I'm illegal in the country, that I'm
09:29:15   19    not a legal resident of the United States. That's in the
09:29:22   20    answer of my counter-petition very clearly expressed.
09:29:28   21    Q.   And did you request that the Court permit you to relocate
09:29:31   22    to Germany with your son?
09:29:33   23    A.   Yes, that's correct, sir.
09:29:37   24    Q.   Okay. And why didn't you request the Court to relocate to
09:29:42   25    Spain?
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09:29:47    1    A.   No, I didn't ask that family court to relocate to Spain. I
09:29:50    2    asked to relocate to Germany for various reasons.
09:29:55    3    Q.   Okay. Did you indicate in your petition that you had a job
09:29:58    4    offer in Germany?
09:30:01    5    A.   Yes, at that time I had, sir.
09:30:04    6    Q.   Okay. Was your petition under oath?
09:30:08    7    A.   Yes, sir.
09:30:09    8    Q.   Was everything you stated in that petition true?
09:30:13    9    A.   Yes, sir.
09:30:17   10               THE COURT: And you're now referring, Mr. Levy, to the
09:30:20   11    counter-petition?
09:30:21   12               MR. LEVY: Correct, Your Honor. At this juncture I
09:30:25   13    would like to move into evidence Verified Counter-Petition for
09:30:32   14    Dissolution of Marriage.
09:30:33   15               THE COURT: Is this your R-1?
09:30:35   16               MR. LEVY: It's Respondent's Exhibit 12.
09:30:40   17               THE COURT: Any objection?
09:30:43   18               MR. NORDBY: Relevance, Your Honor.
09:30:44   19               THE COURT: Overruled. It's admitted.
09:30:46   20               (Respondent's Exhibit 12 admitted into evidence.)
09:30:55   21    BY MR. LEVY:
09:30:56   22    Q.   Okay. And Mr. Schurmann, what was the nature of your
09:30:59   23    relationship in the spring of 2014 with Ms. Anqui?
09:31:14   24    A.   Well, we had some difficulties. I wrote her a long letter
09:31:17   25    expressing my frustrations, and then later we reconciled. She
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09:31:23    1    apologized to me. We apologized to each other, and we just
09:31:30    2    kept going forward.
09:31:37    3               MR. LEVY: Mr. Nordby, I don't know if he has a copy
09:31:39    4    of it. I would like to --
09:31:44    5    BY MR. LEVY:
09:31:45    6    Q.   Mr. Schurmann, you admitted in open court in Okaloosa
09:31:50    7    County at the temporary hearing that you had sent your wife
09:31:53    8    that letter that you just referred to, and on the top of it
09:31:58    9    it's entitled "Why Are Women Frigid."
09:32:04   10         Do you acknowledge writing a letter with the title of that
09:32:07   11    nature?
09:32:07   12               MR. NORDBY: Your Honor, I object based on relevance,
09:32:11   13    and this is far outside the scope of the direct examination.
09:32:14   14               THE COURT: I would agree with you as to scope. I
09:32:17   15    would disagree with you as to relevance.
09:32:19   16               I think this is probably something you should seek to
09:32:21   17    admit in your case. You would then need to call him in your
09:32:28   18    case.
09:32:29   19               MR. LEVY: That's fine, I can address this on --
09:32:31   20               THE COURT: But based on the objection which is before
09:32:33   21    me, that's the procedure we'll need to follow.
09:32:39   22    BY MR. LEVY:
09:32:39   23    Q.   And, Mr. Schurmann, you state that your wife concealed your
09:32:44   24    child from you?
09:32:51   25    A.   I didn't understand the language. Please repeat.
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09:32:54    1    Q.   You stated that your wife concealed the child from you?
09:33:01    2    A.   Yes, she did, for four-and-a-half months.
09:33:03    3    Q.   Okay. How many times did you travel back to Okaloosa
09:33:07    4    County from August of 2014 to November of 2014?
09:33:12    5    A.   I came only back in December.
09:33:22    6    Q.   Okay. And did you speak to your son daily?
09:33:25    7    A.   Yes, sir, I did.
09:33:27    8    Q.   Okay. And so, if I get your testimony right, earlier you
09:33:32    9    testified that you didn't discover she wasn't residing at the
09:33:36   10    residence on the envelope until you returned to Okaloosa County
09:33:42   11    in December?
09:33:43   12    A.   Yes, sir.
09:33:43   13    Q.   Okay. So explain to me how she was concealing the child
09:33:50   14    from you.
09:33:53   15    A.   If you don't give the other parent the real whereabouts
09:33:58   16    where you live and where the child lives, this is concealment
09:34:00   17    of a child, period.
09:34:03   18    Q.   Okay. Did you testify --
09:34:06   19    A.   You may want to look up -- you may want to look up the
09:34:09   20    international laws reflecting to this, Mr. Levy.
09:34:12   21    Q.   Just respond to my question, please, sir. Did you
09:34:16   22    testify --
09:34:16   23    A.   I did.
09:34:17   24    Q.   Did you testify earlier that when you returned to Destin in
09:34:22   25    2014 that you were allowed to see your child?
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09:34:26    1    A.   Yes, I came back on the 13th, and we had family lunch
09:34:32    2    together, the three of us -- actually four, there was another
09:34:36    3    little child with us, a friend of my son, and we went to Taco
09:34:41    4    Bell and had a great family lunch together.
09:34:43    5    Q.   Okay. And was the child permitted to stay with you at your
09:34:47    6    hotel?
09:34:47    7    A.   Yes, sir.
09:34:50    8    Q.   Okay. And did you ever not permit Ms. Anqui to speak to
09:34:59    9    the child?
09:35:00   10    A.   Not permit her?
09:35:05   11    Q.   Did you ever -- did you ever at any time when she contacted
09:35:09   12    you and asked to speak to the child, did you deny her request?
09:35:12   13    A.   You mean during the time I was in Pennsylvania? She had
09:35:18   14    the child.
09:35:19   15    Q.   Incorrect. I'm referring specifically to the time at the
09:35:22   16    hotel when she permitted you to have the child. You testified
09:35:25   17    at some point the police came?
09:35:29   18    A.   Oh, you mean that day when she was --
09:35:32   19               MR. NORDBY: Object to form.
09:35:34   20               THE COURT: Overruled. We just need to get the facts
09:35:36   21    straight about this.
09:35:37   22               So, Mr. Levy, restate your question. Clarify it, if
09:35:43   23    you can, for him.
09:35:44   24               And then, Mr. Schurmann, allow him to finish his
09:35:47   25    question before you respond, please.
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09:35:50    1    BY MR. LEVY:
09:35:51    2    Q.   In December 2014 when the child was with you at the hotel,
09:35:55    3    did you at any time not permit Ms. Anqui to speak with her
09:36:00    4    child?
09:36:00    5    A.   Are you referring to the 15th of December, to be exact?
09:36:08    6    Q.   Okay. So you refused her the ability to speak with the
09:36:12    7    child?
09:36:13    8    A.   No, sir.
09:36:15    9    Q.   Okay. At some point did she show up at the hotel?
09:36:26   10    A.   Yes. It was at two a.m. in the morning while D.S.S. was
09:36:30   11    already asleep.
09:36:31   12    Q.   And did you permit her to see the child?
09:36:42   13    A.   She knocked at my hotel room, and I said, "Jubilie, would
09:36:48   14    you please apologize to our son for exposing him to the
09:36:52   15    adultery affair. He is emotionally and physically and
09:36:57   16    everything" -- he was traumatized.
09:37:00   17         And she said, "No, I'm not going to apologize." And I
09:37:03   18    said, "Please do this for the favor of our son." She refused,
09:37:05   19    and then she called the police.
09:37:07   20    Q.   Okay. And did you at some point file a petition for
09:37:19   21    injunction for protection against domestic violence on behalf
09:37:22   22    of the minor child?
09:37:24   23    A.   Absolutely, I did, on the 17th of December 2014.
09:37:29   24    Q.   Okay. And what were the grounds that you asserted for
09:37:33   25    filing that petition?
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09:37:34    1    A.   The line was -- you were fading out. Please repeat your
09:37:44    2    question.
09:37:44    3    Q.   What were the grounds for you filing that petition for
09:37:48    4    protection against domestic violence on behalf of the minor
09:37:51    5    child?
09:37:52    6    A.   If you look up the original petition you will see every
09:37:55    7    detail in there.
09:38:02    8                MR. LEVY: At this time, Your Honor, I'd like to go
09:38:04    9    ahead and move in Respondent's Exhibit 1, which is the Petition
09:38:07   10    for Injunction for Protection Against Domestic Violence.
09:38:11   11                THE COURT: Okay. Mr. Nordby?
09:38:13   12                MR. NORDBY: No objection.
09:38:14   13                THE COURT: And what is the number, the exhibit
09:38:18   14    number?
09:38:18   15                MR. LEVY: It is Respondent's Exhibit 1.
09:38:21   16                THE COURT: It's admitted.
09:38:21   17              (Respondent's Exhibit 1 admitted into evidence.)
09:38:21   18    BY MR. LEVY:
09:38:36   19    Q.   In that petition you alleged under oath that Ms. Anqui had
09:38:42   20    engaged in sexual intercourse on multiple occasions with her
09:38:44   21    lover in front of the minor child?
09:38:45   22    A.   Yes, sir, that's correct. That's what my son told me.
09:38:51   23    Q.   And you also allege that she threatened to conceal, kidnap,
09:38:57   24    or abscond with the minor child?
09:38:59   25    A.   She did this on the 16th of December, it confirms it.
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09:39:03    1    Q.   On what date did she -- on what date are you saying she
09:39:12    2    left and absconded with the child, to your knowledge?
09:39:16    3    A.   If I recall it correctly -- I have to look it up -- from
09:39:19    4    the 16th to the 19th of December she disappeared with the child
09:39:23    5    to an unknown location in Alabama and refused to return and
09:39:28    6    refused to give Sheriff Deputy Jamie Knox her location and her
09:39:34    7    whereabouts.
09:39:38    8    Q.   Now, you're saying that she returned on the 19th? She
09:39:44    9    returned to Okaloosa County on the 19th?
09:39:46   10    A.   Yes, after three days she returned with D.S.S.
09:39:53   11    Q.   Do you know what date the sheriff attempted to contact her?
09:39:56   12    A.   The sheriff contacted her on the 17th. I was at the
09:40:04   13    substation where the sheriff called me to serve her the
09:40:09   14    injunction. She was not there. Then Sheriff Jamie Knox called
09:40:15   15    the mobile phone call of Anqui and the boyfriend Tedrick, and
09:40:19   16    they said, "Well, we are not returning, and we don't let you
09:40:23   17    know where we are. Goodbye."
09:40:26   18    Q.   And based on the allegations of the abuse of the minor
09:40:37   19    child, did you report that anywhere else?
09:40:38   20    A.   Come again, sir.
09:40:40   21    Q.   Did you report that anywhere else?
09:40:47   22    A.   Did I report what?
09:40:49   23               MR. NORDBY: Objection, Your Honor.
09:40:51   24               THE COURT: Overruled.
09:40:52   25    BY MR. LEVY:
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09:40:53    1    Q.     The allegations of sexual intercourse in front of the
09:40:57    2    child.
09:40:59    3    A.     Whom are you referring to? Did I report it to what, to
09:41:03    4    who?
09:41:04    5    Q.     Did you report it to any type of government agency?
09:41:07    6    A.     Well, we had that discussion before in the family court.
09:41:10    7    You know my answer by now.
09:41:14    8                THE COURT: No, I don't know it.
09:41:14    9    BY MR. LEVY:
09:41:16   10    Q.     We're actually in a federal court now and the judge has not
09:41:19   11    heard this evidence.
09:41:20   12                THE COURT: Mr. Schurmann, please answer the question.
09:41:22   13                THE WITNESS: Okay. No, I did not report it to any
09:41:25   14    other agency. I filed the child protection injunction.
09:41:30   15    BY MR. LEVY:
09:41:31   16    Q.     Okay. And do you recall what date the hearing was set for
09:41:38   17    you to present evidence on your petition for injunction?
09:41:43   18    A.     Yes, the 13th of December 2014.
09:41:47   19    Q.     Okay. And did you proceed forward with evidence on that
09:41:55   20    date?
09:41:55   21    A.     My lawyer advised me to drop the injunction because it
09:41:59   22    would proceed in the family court. I didn't like the idea, but
09:42:01   23    I followed the advice, which I considered to be wrong, of my
09:42:05   24    lawyer, Andrew Wood.
09:42:18   25                MR. LEVY: And, Your Honor, at this time, I would like
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09:42:20    1    to move into evidence Respondent's Exhibit C. It's a copy of
09:42:29    2    the court order on the domestic violence injunction just saying
09:42:35    3    that the petition appeared at the hearing but decided to
09:42:38    4    voluntary dismiss the action.
09:42:39    5                THE COURT: To be consistent, can we give it a number
09:42:42    6    instead of a letter?
09:42:44    7                MR. LEVY: It was Respondent Exhibit 6 -- did I say B?
09:42:50    8                THE COURT: Actually, we thought you said C.
09:42:53    9                MR. LEVY: I'm sorry. It's 6.
09:42:55   10                THE COURT: Okay, that will be admitted.
09:42:57   11                (Respondent's Exhibit 6 admitted into evidence.)
09:43:19   12    BY MR. LEVY:
09:43:20   13    Q.     Mr. Schurmann, your attorney addressed that letter that you
09:43:23   14    wrote to Judge Polson. Do you have a copy of that letter with
09:43:26   15    you?
09:43:27   16    A.     Yeah. I believe it was in your answer somewhere as an
09:43:31   17    attachment.
09:43:41   18    Q.     Okay. Do you recall in that letter stating that you wanted
09:43:48   19    D.S.S. -- basically immediate effect to return to his home
09:43:52   20    country of Germany as I requested? Do you recall stating that
09:43:56   21    to Judge Polson?
09:43:59   22    A.     Well, let me explain the reason why I mentioned Germany so
09:44:02   23    you understand my thought behind it. May I?
09:44:08   24    Q.     Go ahead, sir.
09:44:10   25    A.     Okay. When I filed my counter-petition on your divorce
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09:44:17    1    petition, I knew that my wife would object to relocation. The
09:44:21    2    reason that I put Germany in was a placeholder for knowing that
09:44:26    3    there was a refusal. That means you're now illegally
09:44:31    4    withholding a German citizen in the United States. Those are
09:44:36    5    criminal sanctions. That's why I did this.
09:44:38    6         Secondly, officially I'm a resident in Spain and so is my
09:44:41    7    son. There is more criminal sanctions, which is between two
09:44:45    8    and four years jail time. This is not a civil case. This is a
09:44:49    9    crime under Spanish law and so is a crime under German law.
09:44:54   10    And so therefore I put both countries in because both of it you
09:44:58   11    step into the trap and now you have to deal with the
09:45:00   12    consequences.
09:45:01   13    Q.   Where in your petition did you put Spain in and request
09:45:05   14    that the Court permit you to relocate with the child to Spain?
09:45:09   15    A.   I put it in my Hague petition.
09:45:16   16    Q.   And did you also list an address in Germany where you
09:45:20   17    intended for you and the child to reside?
09:45:23   18    A.   Yes, sir, I did.
09:45:26   19    Q.   Okay. Well, I guess I'm confused. How is that a request
09:45:34   20    to move to Spain?
09:45:36   21    A.   Sir, I'm a legal resident in Spain, so is my child, and so
09:45:43   22    is my wife. I placed with the Court a test balloon to see how
09:45:48   23    you would respond and how would my wife respond, and obviously
09:45:51   24    both of you objected against the relocation, which I knew in
09:45:55   25    advance. So you are conflicting now with German laws. You are
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09:46:00    1    wrongfully withholding a German citizen. Under the European
09:46:05    2    Convention of Human Rights you have broken so far 25 different
09:46:09    3    laws, and they will come and haunt you.
09:46:11    4    Q.   Well, ultimately it was your understanding the Court was
09:46:15    5    going to make that determination, correct?
09:46:17    6    A.   That is the German court and the Spanish court, not you,
09:46:22    7    Mr. Levy.
09:46:24    8    Q.   Please just respond to my question. You are asking the
09:46:28    9    Court in that petition to permit you to relocate with the child
09:46:32   10    to Germany?
09:46:35   11    A.   At that petition, yes, I asked the question if a German
09:46:40   12    citizen and a German father would be allowed to relocate to
09:46:45   13    Germany.
09:46:54   14                MR. LEVY: Judge, at this juncture, I would like to
09:46:56   15    move the letter into evidence as Respondent's Exhibit 21. It's
09:47:01   16    an email dated February 27, 2015, to Judge Polson where he
09:47:07   17    indicates an intent to return with the child to Germany.
09:47:11   18                THE COURT: All right.
09:47:12   19                MR. NORDBY: Object on the basis of relevance to the
09:47:14   20    Hague Convention allegations.
09:47:16   21                THE COURT: Mr. Nordby, you raised the issue in your
09:47:18   22    direct about his email to Judge Polson, so it's clearly fair
09:47:25   23    game at this point. Overruled. It will be admitted,
09:47:31   24    Respondent's 21.
09:47:43   25            (Respondent's Exhibit 21 admitted into evidence.)
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09:47:45    1    BY MR. LEVY:
09:47:46    2    Q.   Okay. And have you ever represented to the Okaloosa court
09:47:49    3    that you were deported?
09:47:53    4    A.   Did I represented to the Okaloosa court that I what?
09:47:57    5    Q.   Have you ever made any type of court filings that you were
09:48:01    6    deported from the United States in February of 2015?
09:48:05    7    A.   We filed in our counter-petition to your divorce petition
09:48:09    8    that I'm illegally in the country and that I am subject to
09:48:12    9    deportation at any time, yes, sir.
09:48:14   10    Q.   Have you ever represented, though, at any time that your
09:48:19   11    wife forced you to get arrested which caused you to be
09:48:23   12    deported?
09:48:25   13    A.   I couldn't hear the question. Please repeat it, sir.
09:48:30   14    Q.   Have you ever represented in a filing in Okaloosa County
09:48:35   15    that your wife caused you to be arrested which then forced you
09:48:40   16    to be deported, and that would have been in February of 2015?
09:48:44   17    A.   Yes, sir. I had a wrongful arrest on the 2nd of February
09:48:53   18    2015 at 8:05 a.m. at the school in Destin where I dropped off
09:48:58   19    my son following a court order from Judge Polson which my wife
09:49:03   20    under Article IV refused to execute. She is in violation of
09:49:09   21    that court order.
09:49:11   22    Q.   Well, what did your wife do to violate that court order?
09:49:15   23    A.   She didn't change the paperwork at the school to allow me
09:49:21   24    access to drop off my son and pick him up. That was in
09:49:27   25    paragraph 4, the order from Judge Polson which my wife ignored
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09:49:31    1    and violated, that's why I got arrested, sir.
09:49:34    2    Q.   So you're representing to the Court you got arrested
09:49:39    3    because you didn't have proper -- a proper letter from
09:49:43    4    Ms. Anqui?
09:49:45    5    A.   That's correct, she didn't execute the school documents.
09:49:50    6    Q.   It had nothing to do with you causing a disturbance at the
09:49:55    7    school?
09:49:55    8    A.   Come again.
09:49:57    9    Q.   It had nothing to do -- the charges --
09:50:00   10               MR. LEVY: Let me back that up, Your Honor.
09:50:03   11               THE COURT: Okay.
09:50:03   12    BY MR. LEVY:
09:50:04   13    Q.   Were you previously issued with a trespass warning at the
09:50:07   14    child's school?
09:50:10   15    A.   Yes. That was the Friday before. I believe it was the
09:50:13   16    29th of January. I have to look it up to be exact. And I came
09:50:19   17    with my certified court order from Judge Polson, I showed it to
09:50:26   18    Deputy Sonya Shepard, which was Friday at 14:55 p.m., to pick
09:50:30   19    up D.S.S. according to the court order.
09:50:35   20         Sonya Shepard refused to recognize the court order and
09:50:38   21    issued me an oral trespass warning. And I said, "Look, I will
09:50:42   22    come back on Monday, I will bring you another court order." So
09:50:45   23    on Monday morning I followed the court order again, I dropped
09:50:49   24    off D.S.S., and I'm being wrongfully arrested.
09:50:53   25    Q.   Okay. So your statement today is that you did not cause a
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09:50:57    1    disturbance at the school on multiple occasions?
09:51:00    2    A.   Sir, I never disturb anything in the school. I went there
09:51:06    3    to pick up and drop off my child, period.
09:51:19    4                MR. LEVY: No further questions, Your Honor.
09:51:21    5                THE COURT: Redirect?
09:51:23    6                MR. NORDBY: Your Honor, if I could, I'm wondering if
09:51:26    7    I might withdraw my scope objection to streamline the
09:51:30    8    presentation of evidence, if that would help, my earlier scope
09:51:33    9    objection, so he doesn't have to be re-called.
09:51:36   10                THE COURT: Well, I'm going to leave that up to
09:51:39   11    Mr. Levy.
09:51:40   12                MR. LEVY: At this point, I'd prefer to just address
09:51:42   13    him on direct.
09:51:44   14                THE COURT: Okay. Then redirect?
09:51:51   15                MR. NORDBY: Briefly.
09:51:52   16                THE COURT: Okay.
09:51:53   17                             REDIRECT EXAMINATION
09:51:56   18    BY MR. NORBY:
09:52:22   19    Q.   Mr. Schurmann, Mr. Levy asked you about an arrest at your
09:52:29   20    child's school. Do you recall that testimony just now?
09:52:31   21    A.   Do I recall the testimony?
09:52:37   22    Q.   Do you recall that Mr. Levy just asked you about that, is
09:52:39   23    my question?
09:52:42   24    A.   Yes, yes, sir.
09:52:42   25    Q.   Okay. How was that arrest resolved?
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09:52:46    1    A.   How was the arrest resolved?
09:52:55    2    Q.   What was the result of the arrest? Were you convicted of
09:52:58    3    any crime?
09:52:59    4    A.   No, sir. I was -- I was three days in jail. The case has
09:53:05    5    been brought in front of Judge Jim Ward. And when he looked at
09:53:11    6    the case he was shaking the head himself, and he said, "Why is
09:53:15    7    this man in jail in the first place? He just followed the
09:53:20    8    court order. Get him out of here immediately," and I signed a
09:53:23    9    signature bond and three days later I was released.
09:53:27   10    Q.   And at another point in his questioning Mr. Levy asked you
09:53:29   11    about the circumstances under which you left the United States.
09:53:32   12    Were you deported or did you leave the United States because
09:53:35   13    you were subject to deportation?
09:53:41   14    A.   Two reasons. I was, first of all, subject to deportation,
09:53:44   15    which I knew I was illegal. I had received various threats
09:53:49   16    from Deputy Sonya Shepard and from her police colleagues and
09:53:54   17    also from my wife. And they said, "Look, if we catch you just
09:54:00   18    driving your car without a Florida driver's license, you will
09:54:02   19    go to jail again, Mr. Schurmann. We know now you're illegal,
09:54:09   20    and we know you have no valid Florida driver's license because
09:54:12   21    you are illegal," and so the threats kept on going on before
09:54:16   22    and after my arrest.
09:54:17   23    Q.   Mr. Schurmann, Mr. Levy asked you about your request in
09:54:21   24    your divorce proceedings to return with your son -- or not to
09:54:27   25    return, but to go with your son to Germany. Had you ever
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09:54:31    1    previously lived in Germany with your son?
09:54:34    2    A.   No. We visited Germany for business but we have never been
09:54:40    3    residents --
09:54:42    4    Q.   Did you consider Germany --
09:54:43    5    A.   -- citizenship -- (Lost transmission.)
09:54:48    6    Q.   I'm sorry, I interrupted you. Please complete your answer.
09:54:51    7    A.   Well, if I wanted to live in Germany, that would be very
09:54:54    8    easy, because we are both German citizens.
09:54:57    9    Q.   But had you habitually resided in Germany with your son?
09:55:03   10    A.   No, sir, we never did.
09:55:05   11               MR. NORDBY: Thank you. No further questions.
09:55:08   12               THE COURT: Mr. Schurmann, I have a couple of
09:55:10   13    questions I'd like to ask. Specifically how long did you, your
09:55:17   14    wife and son live in Spain.
09:55:20   15               THE WITNESS: In Spain since birth, and then until
09:55:26   16    March, April of 2010.
09:55:32   17               THE COURT: And then how long -- I believe you
09:55:34   18    testified, but just so that I'm clear, how long were you in the
09:55:38   19    Philippines?
09:55:43   20               THE WITNESS: That was from April, I believe, until
09:55:47   21    October. October 13 we arrived in America on the E-2 investor
09:55:58   22    visa.
09:55:58   23               THE COURT: And you would please explain slowly,
09:56:02   24    please, the purpose of your business venture in the United
09:56:10   25    States, in other words, why you were coming with your family to
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09:56:13    1    the United States in 2010.
09:56:16    2               THE WITNESS: Well, when I bought the master franchise
09:56:19    3    from Plaswall in the Philippines --
09:56:23    4               THE COURT: Mr. Schurmann, I'm sorry. I think a lot
09:56:26    5    of this difficulty is just due to the electronics here. So you
09:56:30    6    bought a master franchise in the Philippines, is that what you
09:56:38    7    said?
09:56:38    8               THE WITNESS: Yes, ma'am, I bought a master franchise
09:56:43    9    for a concrete construction technology under the name of
09:56:49   10    Plaswall. And the franchise agreement was valid for two years
09:56:55   11    as my visa was valid for two years.
09:57:05   12               THE COURT: What were your plans at that time in
09:57:11   13    regards to the franchise agreement? If it had been successful,
09:57:17   14    what were your plans?
09:57:19   15               THE WITNESS: Well, my plans was -- and I expressed
09:57:22   16    also in my original business plan that I set up a master
09:57:24   17    factory, which I did in Birmingham, Alabama. And then I wanted
09:57:29   18    to sell it actually to various licensed partners or to a master
09:57:34   19    franchisee, sell it and then go back to Europe. So that was
09:57:39   20    supposed to be like an investment opportunity where I could
09:57:42   21    maybe make a great return in the short time. Unfortunately,
09:57:46   22    that failed.
09:57:47   23               THE COURT: But when it failed, I believe you
09:57:49   24    testified earlier that you tried to set up -- was it a separate
09:57:54   25    business or to do the same thing in a different place?
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09:57:59    1               THE WITNESS: There was actually the same business. I
09:58:02    2    just changed the brand because I resigned from Plaswall due to
09:58:07    3    he was involved in money laundering, he never supported me as a
09:58:11    4    franchisor, he took money from me and never showed up, so it
09:58:15    5    was a nightmare. And I said I resign.
09:58:18    6               I changed the brand, updated the technology, made it
09:58:21    7    better, and then he started attacking me over the Internet, and
09:58:24    8    he destroyed my name, my new brand, everything. So I lost
09:58:27    9    probably $750,000 in a very short time.
09:58:31   10               THE COURT: All right. You referenced to having hired
09:58:37   11    or retained an immigration lawyer in the Destin area; is that
09:58:43   12    right? Did I hear that correct?
09:58:46   13               THE WITNESS: Originally when I came to America I
09:58:50   14    hired a lawyer in Birmingham, Alabama. And during the process
09:58:53   15    of the immigration under the E-2 visa she got her licensed
09:58:58   16    revoked for whatever reason, she disappeared, so she didn't
09:59:02   17    submit the documents properly for the immigration process. I
09:59:06   18    got rejected.
09:59:07   19               I hired another lawyer. I gave him another $2,500.
09:59:11   20    He wrote one letter to the USCIS, and I got further rejected.
09:59:17   21    And then I said, I'm just tired of it, I give up. So, look,
09:59:21   22    let's sell our equipment as fast as possible, let's go back.
09:59:28   23    Unfortunately, that didn't work as planned.
09:59:31   24               THE COURT: Okay. So what was -- the lawyer that you
09:59:33   25    hired in Birmingham who lost her license, why did you hire her?
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09:59:38    1    What was she supposed to do?
09:59:43    2               THE WITNESS: Well, I hired her to submit all
09:59:46    3    paperwork under the E-2 visa. They requested so much
09:59:50    4    additional documents, like the business plan, the financial
09:59:52    5    statements, the bank accounts, et cetera, just to comply to the
09:59:55    6    rules under the E-2 visa, which were all submitted. But the
10:00:02    7    lawyer didn't forward it, that was the problem.
10:00:03    8               THE COURT: Did you have an E-2 visa or not?
10:00:07    9               THE WITNESS: The visa was originally valid for two
10:00:10   10    years, and then it just got rejected because the paperwork was
10:00:13   11    not submitted in due course and it was half of it missing. The
10:00:20   12    lady disappeared from her office.
10:00:21   13               THE COURT: Right. And so then when you retained the
10:00:24   14    immigration attorney in Okaloosa County or in Destin, you
10:00:27   15    retained that person or that attorney to do the same thing for
10:00:32   16    the same purpose?
10:00:34   17               THE WITNESS: Well, I asked him -- (lost transmission)
10:00:43   18    -- the temporary E-2 because I'm trying to sell my equipment,
10:00:48   19    and I would like to rectify this and still allowed to stay for
10:00:52   20    another two years until I can disperse of my assets and then
10:00:56   21    take the remaining money and go back home.
10:00:58   22               THE COURT: I'm sorry. Again the electronics -- there
10:01:00   23    was a pause and so I did not hear the first part of your
10:01:04   24    testimony just now.
10:01:06   25               My question is: Were you trying to apply to extend
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10:01:11    1    the visa, yes or no?
10:01:16    2                THE WITNESS: Yes, ma'am, I tried it one time. I
10:01:18    3    tried it one time where the second immigration lawyer sent a
10:01:24    4    letter to the USCIS. We didn't ever receive the response, so I
10:01:29    5    called him up a couple of weeks later. He changed his
10:01:33    6    telephone numbers and disappeared, so that's another $2,500
10:01:36    7    with the second immigration lawyer. And then I give up.
10:01:39    8                THE COURT: So would that have been an extension --
10:01:42    9    how long would that extension have been for? What was the
10:01:46   10    duration?
10:01:47   11                THE WITNESS: A maximum of another two years. If it
10:01:50   12    would have been granted, it would have been maximum of two
10:01:53   13    years, ma'am.
10:01:53   14                THE COURT: Okay. And then finally, Mr. Schurmann,
10:02:00   15    have you pursued any relief -- filed anything through the
10:02:04   16    German government for the relief you're seeking here?
10:02:13   17                THE WITNESS: I couldn't hear properly. Would you
10:02:16   18    please repeat the question, ma'am.
10:02:18   19                THE COURT: You filed in the country of Spain through
10:02:25   20    the ministry of justice in Spain under the Hague Convention,
10:02:29   21    correct?
10:02:30   22                THE WITNESS: Yes, ma'am.
10:02:31   23                THE COURT: Have you done the same in Germany?
10:02:35   24                THE WITNESS: Of course not. I'm not resident in
10:02:37   25    Germany.
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10:02:38    1               THE COURT: That's what I wanted to ask. Thank you.
10:02:40    2               First, Mr. Nordby, any follow-up questions to the
10:02:43    3    Court's questions?
10:02:44    4               MR. NORDBY: Your Honor, no follow-up questions to the
10:02:46    5    Court's questions. And I'd rest my evidentiary presentation at
10:02:50    6    this time. I have legal arguments, but I don't know whether
10:02:54    7    Your Honor's preference is to address those here or in some
10:02:58    8    post-hearing filings.
10:02:59    9               THE COURT: Well, I'd like to hear from you all here
10:03:02   10    today, but I would like to wait until all of the evidence has
10:03:06   11    been admitted. So I don't know if Ms. Anqui has evidence. So
10:03:10   12    I'll hear from you, but it may be at the close of all the
10:03:14   13    evidence. Thank you.
10:03:15   14               MR. NORDBY: Thank you very much.
10:03:16   15               THE COURT: Mr. Levy, any follow-up questions to the
10:03:19   16    Court's questions of Mr. Schurmann?
10:03:21   17               MR. LEVY: No, Your Honor.
10:03:22   18               THE COURT: Mr. Schurmann, Mr. Nordby has announced
10:03:25   19    that he is going to rest, he has no more evidence to present on
10:03:29   20    your behalf. And so now would be the opportunity for Ms. Anqui
10:03:33   21    to present evidence in support of her response to the petition.
10:03:41   22               Mr. Levy?
10:03:43   23               MR. LEVY: Thank you, Your Honor.
10:03:44   24               THE COURT: I tell you what, let's --
10:03:44   25               MR. LEVY: Can she remain here or --
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10:03:49    1               THE COURT: She'll need to come to the witness stand.
10:03:51    2    But let's take a short recess. I apologize. Let's do that.
10:03:55    3    We've been in the courtroom about an hour-and-a-half. We'll
10:03:59    4    take ten minutes, just long enough for everyone to stretch
10:04:02    5    their legs, use the restroom, get something to drink, 10 or 15
10:04:05    6    minutes.
10:05:21    7               (Recess taken 10:04 a.m. to 10:18 a.m.)
10:18:43    8               THE COURT: Mr. Levy?
10:18:45    9               MR. LEVY: I'd like to call Mr. Schurmann as my first
10:18:47   10    witness.
10:18:48   11               THE COURT: Oh, Mr. Schurmann. Where is -- I'm sorry,
10:18:49   12    I should have checked. I thought he was online before I came
10:18:52   13    in.
10:18:53   14               MR. LEVY: We have concerns that, because of the time
10:18:56   15    difference, that they may shut his connection down.
10:18:59   16               THE COURT: Okay. Well, let's hope -- I guess it
10:19:04   17    hasn't happened yet because we still have a video. But we
10:19:08   18    don't have him, so we'll have to wait just a minute and see if
10:19:12   19    he returns and hope that he returns.
10:19:25   20               Mr. Nordby, were you in the courtroom when
10:19:32   21    Mr. Schurmann exited the room where he is?
10:19:35   22               MR. NORDBY: Your Honor, I will admit that I did not
10:19:37   23    notice he left.
10:19:38   24               THE COURT: There he is. Perfect. All right, great.
10:19:44   25               Okay, Mr. Schurmann, we're all back and ready to
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10:19:53    1    proceed with the hearing. Are you ready?
10:19:59    2               MR. SCHURMANN: Yes, ma'am. I just had to go quick to
10:20:02    3    the bathroom.
10:20:02    4               THE COURT: Okay. Mr. Levy is going to start with
10:20:04    5    Ms. Anqui's case, and he's going to be asking you some
10:20:08    6    additional questions on direct examination. You're still under
10:20:11    7    oath, okay? Do you understand?
10:20:14    8               THE WITNESS: Yes, ma'am. Yes, ma'am.
10:20:15    9               THE COURT: Thank you.
10:20:15   10               Mr. Levy, you may proceed when you're ready.
10:20:18   11         STEPHAN SCHURMANN, RESPONDENT WITNESS, PREVIOUSLY SWORN
10:20:18   12                              DIRECT EXAMINATION
10:20:19   13    BY MR. LEVY:
10:20:20   14    Q.   Mr. Schurmann, you previously testified that your arrest
10:20:25   15    charges were dismissed, is that correct, that your arrest
10:20:29   16    charges as to the trespass were dismissed?
10:20:33   17    A.   I didn't say that, sir.
10:20:35   18    Q.   Okay. Are those charges --
10:20:38   19    A.   I didn't say they were dismissed.
10:20:40   20    Q.   Are those charges still pending?
10:20:43   21    A.   Yes, sir.
10:20:44   22    Q.   Do you have any other charges pending?
10:20:48   23    A.   Not to my knowledge.
10:20:52   24    Q.   Okay. You previously testified that you've never
10:21:03   25    physically abused your wife?
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10:21:06    1    A.   That's correct, sir.
10:21:07    2    Q.   That's correct? Has your wife ever left the house and gone
10:21:19    3    to a women's shelter?
10:21:22    4    A.   Well, you stated that, but I don't know if that's right or
10:21:28    5    wrong.
10:21:29    6    Q.   Has your wife ever told you that she went to a lady -- to a
10:21:33    7    women's shelter for abuse during the marriage?
10:21:35    8    A.   Again, you stated that in the divorce proceedings. I don't
10:21:42    9    know if it's true or untrue. I have no proof.
10:21:44   10    Q.   Okay. And have you ever verbally abused your wife?
10:21:59   11               MR. NORDBY: Your Honor, objection as to relevance to
10:22:02   12    the Hague Convention allegations and affirmative defenses.
10:22:05   13               THE COURT: Overruled.
10:22:09   14    BY MR. LEVY:
10:22:10   15    Q.   Mr. Schurmann, have you ever verbally abused your wife?
10:22:13   16    A.   You mean by saying maybe wrong words?
10:22:23   17    Q.   Have you ever -- have you ever verbally disparaged her?
10:22:29   18    A.   By saying wrong words, is that what you refer to?
10:22:36   19    Q.   What is your definition of "wrong words," sir?
10:22:39   20    A.   Well, I don't know. That's why I ask you, what is it what
10:22:46   21    you mean "verbally abuse"? What is it?
10:22:51   22    Q.   Have you ever called her stupid?
10:22:56   23               MR. NORDBY: Your Honor, objection as to relevance to
10:22:58   24    the Hague Convention allegations.
10:23:00   25               THE COURT: Well, this is already something that was
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10:23:02    1    -- this -- I mean, are you referring to the document that
10:23:09    2    Mr. Schurmann sent to his wife in the letter?
10:23:15    3               MR. LEVY: Well, my follow-up question, Your Honor, is
10:23:17    4    going to be has he ever done it in front of the child, has he
10:23:22    5    ever verbally abused his wife or physically abused his wife in
10:23:24    6    front of the child.
10:23:25    7               THE COURT: And that's why it's relevant. That's why
10:23:28    8    I overruled the objection a few moments ago, I suspected that's
10:23:32    9    where he was headed. So overruled.
10:23:34   10    BY MR. LEVY:
10:23:38   11    Q.   Okay, sir, have you ever called your wife stupid?
10:23:42   12    A.   Yeah, when she wanted to feed my son with cognac prolinase,
10:23:54   13    I said, "How can you be so stupid?"
10:23:56   14    Q.   Okay. And in line with "stupid," that's what I mean by
10:24:00   15    disparaging. Have you ever said any other disparaging words to
10:24:05   16    your wife during the marriage?
10:24:07   17    A.   I don't -- I don't understand the definition of
10:24:11   18    "disparage." I don't know that word, sir. I'm sorry.
10:24:13   19    Q.   Okay. Do you know the word "stupid"?
10:24:18   20    A.   Yeah, I understand that definition, yes, sir.
10:24:21   21    Q.   Okay. Do you know words similar?
10:24:31   22    A.   Similar to what, sir?
10:24:35   23    Q.   Words similar to stupid, have you called her words similar
10:24:38   24    to stupid, sir?
10:24:39   25    A.   Neglecting, not paying attention, risking the safety of our
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10:24:51    1    child, letting him almost die in the Philippines from malaria
10:24:57    2    fever, driving him around in a car without a driver's license,
10:25:00    3    I called it highly negligent, ignorant, and really stupid, yes.
10:25:06    4    Q.   So she deserved it?
10:25:11    5                MR. NORDBY: Your Honor, objection.
10:25:12    6                THE WITNESS: The life of our child is at risk, sir.
10:25:16    7                MR. LEVY: Okay. Well, let me --
10:25:17    8                THE COURT: Excuse me, Mr. Levy. Mr. Nordby is
10:25:20    9    standing.
10:25:21   10                MR. NORDBY: Your Honor, just can I note an objection
10:25:24   11    as to relevance on this testimony?
10:25:26   12                THE COURT: All right. And this is as in front of the
10:25:29   13    child or just in general?
10:25:31   14                MR. LEVY: That's my next follow-up. I can't get him
10:25:34   15    to even state that he's acknowledging that he says anything
10:25:38   16    disparaging. He says he doesn't know the word. So I'm trying
10:25:42   17    to at least get it clear in his head what I'm trying to ask him
10:25:47   18    before I do the follow-up question, which is has he ever done
10:25:51   19    that in front of the child.
10:25:52   20                THE COURT: I'm going to allow it. Overruled. You
10:25:54   21    can have a standing objection.
10:25:56   22                MR. NORDBY: Thank you, Your Honor.
10:25:57   23                THE COURT: All right, go ahead, Mr. Levy, please.
10:26:02   24    BY MR. LEVY:
10:26:03   25    Q.   Okay. And so can you define "stupid" for me?
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10:26:11    1    A.   Look it up in the dictionary. That would be the easiest
10:26:15    2    definition.
10:26:16    3               THE COURT: Mr. Schurmann, we need to get through this
10:26:18    4    so please try to answer the question. And if you don't have a
10:26:24    5    definition in your own mind of "stupidity" or "stupid," then
10:26:28    6    just say you don't instead of the response back to have him go
10:26:31    7    look it up in a dictionary.
10:26:33    8               MR. LEVY: I'll just ask one question and move on,
10:26:36    9    Judge. And pardon my language, I'm going to quote him on this.
10:26:39   10               THE COURT: That's fine.
10:26:40   11    BY MR. LEVY:
10:26:40   12    Q.   Now, you've called Judge Polson a "stupid bitch" in an
10:26:44   13    email. Have you ever called your wife a "stupid bitch" in
10:26:47   14    front of the child?
10:26:53   15    A.   No, sir.
10:26:53   16    Q.   Okay. And you knew what it meant when you called Judge
10:26:58   17    Polson that?
10:26:58   18    A.   Come again, please.
10:27:00   19    Q.   You knew what it meant when you called Judge Polson that?
10:27:04   20    You knew what the word --
10:27:06   21    A.   I still don't --
10:27:07   22    Q.   You said you didn't know what disparage -- you knew that
10:27:10   23    "stupid bitch" is a negative word to call a woman when you
10:27:14   24    called Judge Polson that?
10:27:15   25    A.   I didn't call her that.
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10:27:25    1               MR. LEVY: Judge, have I already moved into evidence
10:27:27    2    the letter? And I believe I have. It's --
10:27:29    3               THE COURT: The email, yes. The letter we were --
10:27:33    4               MR. LEVY: The email is 21.
10:27:36    5               THE COURT: The email is in. The letter you were
10:27:38    6    going to wait until you had Mr. Schurmann examined on direct.
10:27:41    7               MR. LEVY: Right.
10:27:42    8               THE COURT: Because you sought to admit it and then it
10:27:46    9    was determined it was perhaps outside the scope, and so you
10:27:49   10    were going to pursue it on direct.
10:27:51   11               MR. LEVY: Okay. I'll just -- I'll move on.
10:27:56   12    BY MR. LEVY:
10:27:57   13    Q.   Sir, I want to reference you to a letter that you
10:28:00   14    acknowledged writing, which on the front of it says "Why Are
10:28:06   15    Women Frigid." Do you recall writing a letter of that nature
10:28:10   16    to your wife?
10:28:11   17    A.   I copied and pasted that from the Internet. That's public
10:28:15   18    information. I didn't wrote that. That was a blog somewhere
10:28:18   19    and I referred to that, "Please read this. Then you will
10:28:21   20    understand my concerns what is going on in our marriage." That
10:28:25   21    was in March. And as I said before, we reconciled later on,
10:28:31   22    which is evidenced by my PowerPoint presentation from 22nd of
10:28:38   23    -- (lost transmission) -- then we continue to live together as
10:28:43   24    husband and wife.
10:28:45   25    Q.   When you're referring to your PowerPoint presentation,
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10:28:50    1    you're referring to what you sent your son for his birthday?
10:28:54    2    A.   Yeah, and I speak about our family and that Mommy and Daddy
10:28:57    3    is proud and we love you. Just read the text, if you'll open
10:29:04    4    your eyes.
10:29:05    5    Q.   Please respond to my question, sir. So you just copied and
10:29:09    6    pasted --
10:29:10    7                MR. LEVY: Judge, is it okay if I just read the first
10:29:13    8    -- I'm actually going to move it into evidence at this
10:29:15    9    juncture.
10:29:16   10                MR. NORDBY: Your Honor, if I could again object as to
10:29:19   11    relevance as to the letter. I understand Mr. Levy's earlier
10:29:22   12    inquiry was as to certain statements being made in front of the
10:29:27   13    child. I'm not sure if he's alleging that this letter was
10:29:29   14    shown or read to the child somehow that would make it relevant.
10:29:32   15                THE COURT: I understood earlier that one of the
10:29:34   16    reasons that Mr. Levy was seeking to admit the letter is there
10:29:38   17    was a reference in the letter to Mr. Schurmann wanting his son
10:29:43   18    to return to Germany, his home country.
10:29:46   19                MR. LEVY: Well, I believe it's just --
10:29:49   20                THE COURT: Or no?
10:29:50   21                MR. LEVY: He goes on to say that -- he talks about
10:29:54   22    abandoning, that he intends to abandon his wife as of the date
10:29:57   23    of this.
10:29:58   24                THE COURT: So maybe it was the divorce, the
10:30:01   25    counter-petition that I was thinking of.
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10:30:02    1                MR. NORDBY: Your Honor, I do not have a relevance
10:30:05    2    objection as to the aspects of the letter that talk about where
10:30:08    3    my client might want to go. I do have objections as to the
10:30:12    4    general commentary back and forth, which I think is more the
10:30:16    5    realm of a divorce proceeding than a Hague Convention
10:30:20    6    proceeding.
10:30:20    7                THE COURT: Well, I'm going to allow it for a couple
10:30:22    8    of reasons. One, it's been spoken of several times, both by
10:30:27    9    you and Mr. Levy. Also, there's the affirmative defense that
10:30:31   10    Ms. Anqui has raised, which I do think raises some questions as
10:30:36   11    to mental stability. These are his words, there's no dispute
10:30:44   12    about that. So I'm going to admit it.
10:30:47   13                MR. LEVY: Correct, Your Honor, I'd like to move
10:30:50   14    Exhibit 20.
10:30:51   15                THE COURT: And also for the reason as far as his
10:30:53   16    intent to abandon his wife, which is referenced just now by
10:31:01   17    Mr. Levy.
10:31:01   18                MR. LEVY: And I would think, too, I'd also offer it
10:31:04   19    as credibility. He's sitting here saying he doesn't know what
10:31:07   20    these type of words -- these negative words are, and I think
10:31:11   21    it's clear from his intent in his letter that it's meant to --
10:31:15   22                THE COURT: I'm going to admit it. What's the number?
10:31:18   23                MR. LEVY: It is Respondent's Exhibit 20.
10:31:22   24            (Respondent's Exhibit 20 admitted into evidence.)
10:31:24   25    BY MR. LEVY:
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10:31:25    1    Q.   And your testimony, Mr. Schurmann, is that you reconciled
10:31:28    2    after this letter was written?
10:31:30    3    A.   Yes, sir, we kept living together as husband and wife, and
10:31:36    4    we apologized both to each other and kept moving forward.
10:31:41    5    Q.   What date -- do you recall approximately what date you
10:31:45    6    wrote that email or letter to your wife?
10:31:50    7    A.   I believe that was March 18, 2014, if I'm not mistaken.
10:32:01    8    Q.   Okay. And did you cut off her finances close in time to
10:32:05    9    that date?
10:32:06   10    A.   We were broke. We were running out of money, sir. Nobody
10:32:11   11    had money. We were a sinking ship.
10:32:15   12    Q.   Okay. How many attorneys have you retained in your divorce
10:32:19   13    action?
10:32:21   14               MR. NORDBY: Your Honor, objection as to relevance.
10:32:23   15               MR. LEVY: It's just going to his credibility as to no
10:32:25   16    money, Your Honor.
10:32:26   17               THE COURT: Overruled.
10:32:31   18    BY MR. LEVY:
10:32:31   19    Q.   How many attorneys have you retained --
10:32:34   20               THE COURT: Wait. When was the divorce action filed?
10:32:37   21               MR. LEVY: It was -- it was filed in December, and
10:32:41   22    he's -- I'll let him speak. As I'll proffer, he's retained --
10:32:49   23               THE COURT: Well, I'll allow it. There's been
10:32:52   24    reference to him being broke and financially --
10:32:52   25               MR. LEVY: I think he filed it in forma pauperis.
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10:32:57    1               THE COURT: That's fine, I'll allow it as to
10:32:59    2    credibility.
10:33:00    3    BY MR. LEVY:
10:33:01    4    Q.   Mr. Schurmann, how many attorneys -- you mentioned a
10:33:09    5    Mr. Wood, correct, an attorney Mr. Wood, Andrew Wood?
10:33:17    6    A.   Yes, sir.
10:33:17    7    Q.   And you retained him in the injunction petition?
10:33:22    8    A.   Yes, sir.
10:33:22    9    Q.   Okay. And what did -- what did you pay to Mr. Wood?
10:33:26   10    A.   I didn't pay him nothing.
10:33:29   11    Q.   So he did it pro bono?
10:33:33   12    A.   My business partner paid him because I had no money. I
10:33:41   13    paid him zero.
10:33:46   14    Q.   Why did your business partner pay it on your behalf?
10:33:53   15    A.   Because she knew I have no money.
10:34:14   16    Q.   Okay. And how long has D.S.S. lived in the United States?
10:34:20   17    A.   From October 2010.
10:34:28   18    Q.   Okay. And do you recall in the letter that's been marked
10:34:33   19    as Exhibit 20 stating something to the effect that you moved to
10:34:36   20    the United States for schools for D.S.S.?
10:34:43   21    A.   Which letter are you referring to, sir?
10:34:46   22    Q.   It was the letter you said you wrote to your wife in March.
10:34:57   23    A.   Well, I don't remember every sentence. So what are you
10:34:58   24    exactly referring to?
10:35:02   25               THE COURT: Would you read that portion, Mr. Levy.
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10:35:07    1    The letter is in evidence so --
10:35:11    2               MR. LEVY: Sure. I apologize, Your Honor. I thought
10:35:37    3    I had it marked.
10:35:58    4    BY MR. LEVY:
10:35:58    5    Q.   I'm going to read you the paragraph. It says: "Soon after
10:36:01    6    in my business I got the opportunity to buy a master franchise
10:36:05    7    for USA, and we decided to set up our factory in USA, which we
10:36:10    8    hoped would give D.S.S. a better educational level when he
10:36:13    9    would have to go to school."
10:36:15   10               Do you recall writing that?
10:36:18   11    A.   Yeah, which is temporary for two years, sir. You are
10:36:21   12    required by law to put your child in school. I don't want him
10:36:24   13    to grow up stupid.
10:36:25   14    Q.   How old -- how old was he when you first moved to the
10:36:29   15    United States? Was he school age?
10:36:34   16    A.   He was -- no, he was not in school yet. He was -- (lost
10:36:43   17    transmission) -- years old.
10:36:46   18               THE COURT: How old was he?
10:36:48   19    BY MR. LEVY:
10:36:49   20    Q.   How old was he, sir?
10:36:50   21    A.   Come again.
10:36:51   22    Q.   How old was D.S.S. when you first moved to the United
10:36:54   23    States?
10:36:55   24    A.   Well, October 2010, so he was born in August 2008. That
10:36:59   25    means two years and two months.
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10:37:03    1    Q.   Okay. So your testimony was that you didn't mean by that
10:37:06    2    statement in the letter that you intended to live in the United
10:37:09    3    States for a long period of time?
10:37:13    4    A.   No, sir. It's a temporary E-2 business visa. You cannot
10:37:17    5    stay for a long time. Show me where I ever applied to Homeland
10:37:22    6    Security for a green card, permanent resident, or anything
10:37:25    7    alike. It does not exist.
10:37:25    8    Q.   Well, why did you --
10:37:27    9    A.   And by the way --
10:37:28   10    Q.   Why did you overstay your visa?
10:37:32   11    A.   Come again.
10:37:33   12    Q.   You're saying you were only here temporarily. Why did you
10:37:36   13    overstay your visa?
10:37:40   14    A.   Why did I extend my visa?
10:37:42   15    Q.   Why did you overstay the time period you were permitted to
10:37:46   16    be in the United States?
10:37:49   17    A.   Well, the reason was not renewed, and I had $750,000 in the
10:37:53   18    country, which I tried to recoup, and I tried to prolong the
10:37:59   19    visa one more time. That did not work. So we just were going
10:38:03   20    more down the tube instead of recouping our money. We were
10:38:07   21    completely flat broke.
10:38:20   22               MR. LEVY: I've got no further questions.
10:38:22   23               THE COURT: Mr. Levy, would you please direct me to
10:38:24   24    that paragraph where you -- where Mr. Schurmann states that
10:38:34   25    they wanted a better education or schools for D.S.S. Where is
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10:38:37    1    that? These are not marked.
10:38:38    2               MR. LEVY: Yeah, it's not numbered. It would be the
10:38:40    3    second page, the very last paragraph, Your Honor.
10:38:43    4               THE COURT: Oh, I see. Thank you.
10:38:46    5               MR. LEVY: And I've got no further questions for
10:38:49    6    Mr. Schurmann.
10:38:49    7               THE COURT: Mr. Nordby, any cross?
10:38:54    8               MR. NORDBY: No, Your Honor.
10:38:57    9               THE COURT: Your next witness?
10:38:58   10               MR. LEVY: I would like to call my client.
10:39:01   11               THE COURT: Ms. Anqui, here to the witness stand,
10:39:04   12    please.
10:39:06   13               JUBILIE ANQUI, RESPONDENT WITNESS, DULY SWORN
10:39:26   14               MADAM CLERK: Be seated.
10:39:32   15               MR. LEVY: State your full name for the record.
10:39:34   16               THE WITNESS: Jubilie Anqui.
10:39:36   17               MR. LEVY: You can be seated.
10:39:37   18               MADAM CLERK: And spell your last name for the record.
10:39:41   19               THE WITNESS: A-n-q-u-i.
10:39:44   20               THE COURT: All right, Mr. Levy, when you're ready.
10:39:48   21                              DIRECT EXAMINATION
10:39:48   22    BY MR. LEVY:
10:39:51   23    Q.   You've heard Mr. Schurmann's testimony regarding the
10:39:55   24    locations where you've lived. Are the time periods accurate?
10:40:01   25    When did you live in Spain?
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10:40:02    1    A.   I arrive in Spain October 2007. I got temporary residence
10:40:09    2    visa April 2008.
10:40:16    3    Q.   Okay. And do you have any residency status in Spain
10:40:22    4    currently?
10:40:23    5    A.   No.
10:40:24    6    Q.   When was the last time you had residency status in Spain?
10:40:29    7    A.   2010.
10:40:32    8               THE COURT: Ma'am, would you move closer to
10:40:35    9    microphone. I think the chair will slide. Thank you. So
10:40:39   10    that's 2010?
10:40:40   11               THE WITNESS: 2010, yes, ma'am.
10:40:45   12    BY MR. LEVY:
10:40:46   13    Q.   Okay. And what is your understanding why you no longer
10:40:48   14    have residency in Spain?
10:40:50   15    A.   The temporary residence visa for me is valid for five years
10:40:56   16    as long as I remain in the country continuously. But if I
10:41:00   17    leave after six months, it will -- it's no longer valid.
10:41:06   18    Q.   Okay. And why did -- what was your understanding of why
10:41:19   19    you moved to the Philippines in 2010?
10:41:21   20    A.   He bought a master franchise Plaswall -- that's what I
10:41:28   21    know -- that is located in the Philippines. So he wanted to
10:41:31   22    set up the factory there and move all of us to start a new life
10:41:35   23    -- because we were also fighting in the Philippines -- and move
10:41:39   24    everything there.
10:41:40   25    Q.   So you moved all of your belongings from Spain to the
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10:41:43    1    Philippines?
10:41:44    2    A.   To the Philippines.
10:41:45    3    Q.   Did you ever own a house in Spain?
10:41:47    4    A.   No.
10:41:48    5    Q.   Did you ever maintain a house in Spain after you moved?
10:41:52    6    A.   No.
10:41:52    7    Q.   What ties to Spain do you have right now?
10:41:58    8    A.   None.
10:41:58    9    Q.   Do you speak Spanish?
10:42:00   10    A.   No.
10:42:01   11    Q.   Does Stephan speak Spanish?
10:42:04   12    A.   No.
10:42:04   13    Q.   Does the child speak Spanish?
10:42:08   14    A.   No.
10:42:08   15    Q.   Okay. And what is your understanding of why you moved from
10:42:19   16    the Philippines to the United States with the family?
10:42:23   17    A.   Well, before we moved to the Philippines -- or when we were
10:42:28   18    there the purpose was to set up his business of Plaswall and to
10:42:32   19    buy a house for us that we're going to be staying there long
10:42:36   20    term in the Philippines. But then when he met this guy from
10:42:41   21    Alabama which he visited him there, he said it would be
10:42:44   22    better -- the opportunity is better in the United States. So
10:42:46   23    instead of buying the house there, he's going to move his
10:42:49   24    business to Alabama and build our house there as the show house
10:42:55   25    and at the same time would be our home here.
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10:43:00    1    Q.   Okay. And what year did you move to the United States?
10:43:06    2    A.   2010.
10:43:08    3    Q.   Okay. And you've resided here continuously since then?
10:43:14    4    A.   Yes.
10:43:14    5    Q.   And has the child resided continuously with you?
10:43:19    6    A.   Yes.
10:43:19    7    Q.   Okay. And were there ever any discussions of returning
10:43:34    8    back to Italy?
10:43:38    9                THE COURT: You mean Spain?
10:43:41   10                MR. LEVY: There was some testimony, and I think it
10:43:43   11    was introduced as Exhibit 5, Your Honor --
10:43:52   12                THE COURT: Okay.
10:43:52   13    BY MR. LEVY:
10:43:53   14    Q.   Do you recall any discussions about returning to Italy?
10:43:56   15    A.   The reason he wanted to go that particular year, 2013, is
10:44:01   16    he wanted to change his name. And I said, "I don't want to
10:44:04   17    change my name." And he said, "If I leave I cannot come back
10:44:09   18    for ten years, so you and D.S.S. come with me." And I said,
10:44:14   19    "But that's not what we agreed."
10:44:15   20         We agreed to move to the United States from the Philippines
10:44:18   21    to be settled here to make -- to get our residence card and to
10:44:25   22    be able to proceed with the plan that we had in the
10:44:28   23    Philippines.
10:44:32   24    Q.   Okay. So what was your understanding of why you were
10:44:36   25    returning to Italy or you applied for some type of visa in
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10:44:41    1    Italy?
10:44:42    2    A.   He wanted -- he wanted -- he had some -- he had some people
10:44:48    3    posting some negative stuff of him online, and he said he could
10:44:52    4    no longer do his business because his name is being destroyed
10:44:56    5    by his people, and he wanted to change his name, and he said he
10:44:59    6    could do it in Europe.
10:45:00    7    Q.   Okay. And what year was the discussions to apply for a
10:45:07    8    visa in Italy?
10:45:08    9    A.   2013.
10:45:10   10    Q.   Have you ever had any discussions with Stephan regarding
10:45:18   11    returning to Spain after 2010?
10:45:21   12    A.   No.
10:45:21   13    Q.   Have you ever had any agreements with Stephan to return to
10:45:32   14    Europe with the minor child?
10:45:34   15    A.   No.
10:45:34   16    Q.   Have you filed a dissolution of marriage action in Okaloosa
10:45:55   17    County?
10:46:03   18    A.   Yes.
10:46:03   19                MR. LEVY: May I briefly approach?
10:46:05   20                THE COURT: Yes.
10:46:06   21                MR. LEVY: And what I'm showing her, just for the
10:46:09   22    record, is the Petition for Dissolution of Marriage and other
10:46:12   23    Relief, Exhibit 7.
10:46:18   24    BY MR. LEVY:
10:46:18   25    Q.   And if you would, is that the petition that you filed?
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10:46:26    1    A.   Yes, sir.
10:46:26    2                MR. LEVY: Your Honor, we'd like to move the Petition
10:46:29    3    for Dissolution of Marriage and Other Relief into evidence,
10:46:32    4    it's Respondent's Exhibit 7.
10:46:35    5                THE COURT: All right, that will be admitted.
10:46:36    6             (Respondent's Exhibit 7 admitted into evidence.)
10:46:45    7    BY MR. LEVY:
10:46:45    8    Q.   Okay. Do you recall what date you filed the petition for
10:46:48    9    dissolution of marriage?
10:46:49   10    A.   December 17th.
10:46:51   11    Q.   Okay. And why did you file for a divorce?
10:46:56   12                MR. NORDBY: Your Honor, objection as to relevance for
10:47:00   13    this proceeding, the purpose for which she filed for divorce.
10:47:04   14                THE COURT: Overruled. I'll allow it.
10:47:07   15                THE WITNESS: He said he won't -- at that time D.S.S.
10:47:12   16    was with him. We had been discussing the divorce already for a
10:47:16   17    long time even before he left, and he said he won't return
10:47:19   18    D.S.S. to me if I stay with my boyfriend. And he said he won't
10:47:22   19    -- he wouldn't sign the divorce if I don't give him 100 percent
10:47:27   20    custody. So I want the Court to determine the custody for the
10:47:37   21    child.
10:47:40   22    BY MR. LEVY:
10:47:40   23    Q.   Has your husband committed any acts of domestic abuse on
10:47:43   24    you in front of the child?
10:47:50   25    A.   Yes.
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10:47:50    1    Q.   Okay. And can you give me -- how many times has this
10:47:55    2    occurred?
10:47:56    3    A.   (Witness crying.) On a regular basis.
10:48:02    4    Q.   Can you repeat that for the Court.
10:48:04    5                THE COURT: I heard it. She said "on a regular
10:48:08    6    basis."
10:48:08    7    BY MR. LEVY:
10:48:09    8    Q.   Now, are you talking about physical abuse?
10:48:11    9    A.   Physical, yes.
10:48:15   10    Q.   Okay. Can you -- can you give me a date and time of one
10:48:21   11    time that that's occurred.
10:48:25   12    A.   He would -- when D.S.S. is awake or when D.S.S. is there he
10:48:29   13    would just push me or just throw something in my face. But
10:48:33   14    when he's sleeping he will drag me from bed and he would put
10:48:37   15    his hand on my neck and he would drag me to the living room and
10:48:42   16    he said that I cannot sleep in there, and just throw stuff in
10:48:47   17    my face.
10:48:51   18    Q.   Okay. And has Mr. Schurmann been verbally abusive to you
10:48:55   19    in front of D.S.S.?
10:48:58   20    A.   Yes, yes. He would call me names even in front of D.S.S.
10:49:02   21    and I asked him many times not to do it in front of D.S.S., but
10:49:05   22    he keeps on doing it. He said, "I want him to understand what
10:49:08   23    kind of mother you are so when he grows up he will hate you."
10:49:15   24    He would call me all the names in front of him.
10:49:25   25    Q.   Okay. And at some point did you ask the Court to set forth
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10:49:35    1    a temporary custody schedule between you and Mr. Schurmann?
10:49:40    2    A.   Yes.
10:49:57    3                MR. LEVY: May I approach one more time, Your Honor?
10:50:01    4                THE COURT: Yes.
10:50:09    5                MR. LEVY: And what I'm showing her for the record is
10:50:12    6    Respondent's Exhibit 14.
10:50:18    7    BY MR. LEVY:
10:50:18    8    Q.   If you would, just review that. Is that the order that --
10:50:28    9    the temporary order that was entered in your divorce case?
10:50:32   10    A.   Yes.
10:50:32   11                MR. LEVY: I'd like to move Respondent's Exhibit 14
10:50:37   12    into evidence.
10:50:38   13                THE COURT: 14 will be admitted.
10:50:40   14             (Respondent's Exhibit 14 admitted into evidence.)
10:50:44   15    BY MR. LEVY:
10:50:45   16    Q.   And did the order provide for Mr. Schurmann to have
10:50:47   17    visitation with his son?
10:50:49   18    A.   Yes.
10:50:49   19    Q.   And were there any concerns when Mr. Schurmann was
10:50:59   20    exercising his visitation?
10:51:01   21    A.   Yes.
10:51:01   22    Q.   Can you tell the Court?
10:51:03   23    A.   He tried to -- he tried to leave the country with the
10:51:08   24    child.
10:51:12   25    Q.   And I'm sorry, I didn't understand you. Can you repeat
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10:51:17    1    your answer.
10:51:20    2    A.   You said was there any concern when he was exercising his
10:51:24    3    visitation?
10:51:25    4    Q.   Correct, yes.
10:51:26    5    A.   When D.S.S. comes home from him after his visitation,
10:51:31    6    D.S.S. cries and tells me "Daddy is so mad at you, and he said
10:51:37    7    you're a stupid girl and you're a whore." First he said
10:51:41    8    "you're a horse," that's what he get, a horse.
10:51:46    9         And then he said, "I told him you're not, and he said to me
10:51:49   10    that one day when you grow up you will just hate your mother,
10:51:54   11    and that she almost killed you," and D.S.S. was crying, and he
10:52:00   12    said, "I told Daddy you're not like that, but he said you are."
10:52:05   13         And he cried and told me, "He's angry, and he says a lot of
10:52:13   14    mean things to you, and he showed me the text that he is
10:52:16   15    sending to you."
10:52:17   16    Q.   Was the child visibly upset when he returned from his
10:52:22   17    visits with his father?
10:52:28   18    A.   Yes.
10:52:28   19    Q.   Did you at any point attempt to restrict his visitation?
10:52:35   20    A.   I asked for a supervised visitation. I think that was in
10:52:43   21    first part. But when he tried to file another motion he was no
10:52:47   22    longer in the country, so there's no need for that -- to file
10:52:51   23    another one to restrict the visitation.
10:52:53   24    Q.   Okay. And how many times has Mr. Schurmann contacted
10:53:07   25    D.S.S. since he testified he left the country sometime in
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10:53:13    1    February of 2015?
10:53:15    2    A.   Whenever he left February 20, his last call was
10:53:24    3    February 25.
10:53:27    4    Q.   Have you tried -- have you restricted his access to the
10:53:30    5    child in any way?
10:53:31    6    A.   No.
10:53:31    7    Q.   Have you changed your phone number?
10:53:33    8    A.   No.
10:53:33    9    Q.   Has he made any type of written communication to the child?
10:53:41   10    A.   No.
10:53:41   11    Q.   Has he sent you any emails to forward to the child?
10:53:48   12    A.   No.
10:53:48   13    Q.   According to the temporary order, Exhibit 14, Mr. Schurmann
10:54:01   14    was obligated to pay you temporary support; is that correct?
10:54:04   15    A.   Yes.
10:54:04   16    Q.   And how much was that per month?
10:54:05   17    A.   The Court ordered him temporary for $500 started
10:54:12   18    February 1. And he paid twice $500 from that date until today,
10:54:16   19    so he paid February and he paid April only.
10:54:19   20    Q.   Okay. And when he left in August of 2014 to go to
10:54:28   21    Pennsylvania, did he pay any support to D.S.S.?
10:54:34   22    A.   No. He only sent a $50 gift card for Wal-Mart on his
10:54:40   23    birthday, that's it.
10:54:43   24    Q.   And did you ever reconcile with Mr. Schurmann after he
10:54:53   25    wrote you that letter back in March of 2014?
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10:54:57    1    A.   Well, we agreed to remain friends, that I stay -- me and
10:55:01    2    D.S.S. would stay there until we were able to find a one
10:55:04    3    bedroom for us which we could move in the same community. We
10:55:08    4    didn't sleep -- I slept with D.S.S., I slept on the floor from
10:55:13    5    March until he left. He doesn't want me to sleep in the
10:55:18    6    bedroom, and he doesn't want me to sleep on the couch either,
10:55:21    7    so I was sleeping with D.S.S. And D.S.S. doesn't want me to
10:55:26    8    sleep on the ground, so D.S.S. came out on the ground and sleep
10:55:28    9    with me on the ground, and I keep on putting him back in his
10:55:34   10    twin bed. So that was -- I was just there inside until time to
10:55:38   11    -- he said he was going to get us an apartment but he didn't.
10:55:40   12                THE COURT: Can you establish the time frame, clear
10:55:42   13    that up for me, please.
10:55:44   14    BY MR. LEVY:
10:55:45   15    Q.   What time frame did you no longer stay in the same marital
10:55:50   16    bed with --
10:55:51   17    A.   From March.
10:55:52   18    Q.   So it was March?
10:55:53   19    A.   2014.
10:55:55   20    Q.   So close in time to when that letter that was sent to you?
10:55:58   21    A.   Yes.
10:55:58   22    Q.   The letter that's been previously referred to?
10:56:01   23    A.   Yes. That's the time where he -- if I sleep in our bed, he
10:56:05   24    will drag me out of the bed. So I --
10:56:09   25    Q.   Now, when you say you had an agreement, was the agreement
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10:56:12    1    for everyone to stay in the United States?
10:56:15    2    A.   Yes. He said -- he said that he just need his business up
10:56:20    3    and running, and once he reaches that $500,000 requirement to
10:56:26    4    change our status through his business that we can change our
10:56:30    5    status and become a legal resident.
10:56:43    6    Q.   And how old is the child now?
10:56:46    7    A.   He's going to be 7 in August.
10:56:50    8    Q.   Okay. And did he attend school in the United States last
10:56:58    9    year?
10:56:58   10    A.   Yes.
10:56:58   11    Q.   What grade?
10:56:59   12    A.   He'll be second grade this fall. He started VPK here in
10:57:07   13    Destin.
10:57:07   14    Q.   Is he involved in any activities outside of school?
10:57:11   15    A.   Yes. He played soccer since he was four. He attended
10:57:14   16    jujitsu for a year. And we attend church activities for kids,
10:57:20   17    and also he attends church.
10:57:29   18    Q.   And how many languages does D.S.S. speak?
10:57:32   19    A.   He only speaks, writes, and reads English.
10:57:40   20    Q.   Does D.S.S. have any friends in Destin?
10:57:45   21    A.   All his friends are here.
10:57:47   22    Q.   Does he have any friends in Spain?
10:57:53   23    A.   No.
10:57:53   24    Q.   Have you even returned to Spain on a vacation at any time
10:58:00   25    since you left Spain in 2010?
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10:58:03    1    A.   No.
10:58:03    2    Q.   Now, you heard Mr. Schurmann testify that some belongings
10:58:12    3    were left in Spain?
10:58:14    4    A.   No, we never own anything in Spain. We moved from -- we
10:58:18    5    lived at three residences in Spain and it's all furnished. The
10:58:24    6    only thing we bought when we were there is a car, which he
10:58:26    7    sold, a TV, a dryer, and some things where to put the towel,
10:58:30    8    which we sold and then we moved to the Philippines.
10:58:34    9    Q.   And how many times did Mr. Schurmann discuss Spain with you
10:58:41   10    after you left?
10:58:42   11    A.   None.
10:58:43   12    Q.   Okay. And there was -- Mr. Schurmann testified to some
10:59:06   13    allegations he made in the domestic violence injunction on
10:59:10   14    behalf of D.S.S. that was filed in December of 2014. He had
10:59:18   15    stated that sexual intercourse was conducted in front of the
10:59:23   16    child. Have you ever done that?
10:59:25   17    A.   No.
10:59:25   18    Q.   Have those claims ever been investigated?
10:59:31   19    A.   Yes.
10:59:31   20    Q.   And who investigated those?
10:59:34   21    A.   Ms. Sheryl Knight and Ms. Christina Fernandez from the DCF.
10:59:40   22    Q.   And how many times were they investigated?
10:59:43   23    A.   Twice, and they interviewed D.S.S. twice.
10:59:46   24    Q.   And to your knowledge, have they ever made any findings of
10:59:49   25    abuse?
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10:59:50    1    A.   No.
10:59:58    2               MR. LEVY: No further questions, Your Honor.
11:00:01    3               THE COURT: All right. Mr. Nordby?
11:00:05    4                               CROSS-EXAMINATION
11:00:05    5    BY MR. NORBY:
11:00:14    6    Q.   Good afternoon, Ms. Anqui. Just a few questions. I'd
11:00:19    7    first like to ask you some questions about your immigration
11:00:22    8    status. Do you currently have any legal immigration status in
11:00:26    9    this country?
11:00:27   10    A.   No.
11:00:27   11    Q.   Does your son?
11:00:28   12    A.   No.
11:00:28   13    Q.   Have you ever applied for permanent residence or any legal
11:00:34   14    status in the United States other than the E-2 investor visa
11:00:40   15    that you came over here on?
11:00:42   16    A.   I just spoke to an immigration lawyer to see what can I --
11:00:44   17    to see my options, but not -- they said wait until -- until I
11:00:50   18    get divorced and maybe we can address my status -- our status.
11:00:56   19    Q.   At this point, though, you have not taken those steps?
11:01:00   20    A.   No.
11:01:01   21    Q.   While your husband was in Pennsylvania, he maintained
11:01:06   22    regular contact with your son; is that right?
11:01:09   23    A.   Yes, sir.
11:01:09   24    Q.   You stated in your response to the petition that your
11:01:14   25    husband had abandoned you and the minor child when he was in
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11:01:18    1    Pennsylvania.
11:01:20    2    A.   Yes.
11:01:20    3    Q.   In what way did he abandon you if he maintained regular
11:01:23    4    contact with the child?
11:01:24    5    A.   He left us in the apartment with unpaid bills and I -- and
11:01:29    6    then I asked him what's going to happen to us, and he said,
11:01:33    7    "Well, I have no money. You figure it out."
11:01:35    8    Q.   Was it your understanding that he had no money?
11:01:38    9    A.   He's -- that's what he said, he had no money.
11:01:44   10    Q.   After your husband returned from Pennsylvania, he picked up
11:01:51   11    your child at school from time to time; is that correct?
11:01:54   12    A.   After -- when he got here, I bring D.S.S. to him to his
11:02:03   13    hotel. And I think Monday -- he got his Saturday, so Monday he
11:02:14   14    brought D.S.S. to school.
11:02:15   15    Q.   And was Mr. Schurmann's testimony earlier that your family
11:02:18   16    has lived in three separate cities over two states since coming
11:02:22   17    to the United States, was that correct?
11:02:24   18    A.   Three separate cities, yes, Birmingham, Alabaster, and
11:02:30   19    Destin.
11:02:31   20    Q.   In your state court divorce proceedings, did you file a
11:02:35   21    document seeking to move with the child to the state of Utah?
11:02:42   22    A.   Yes. That was April.
11:02:43   23    Q.   That was April of this year?
11:02:45   24    A.   April this year.
11:02:46   25    Q.   Do you have any family in Utah?
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11:02:48    1    A.   No.
11:02:49    2    Q.   Do you have any friends in Utah?
11:02:51    3    A.   No.
11:02:51    4    Q.   Does D.S.S. have any friends in Utah?
11:02:55    5    A.   No.
11:02:56    6    Q.   His sports teams and his church that he currently attends
11:03:02    7    in Destin aren't in Utah, correct?
11:03:05    8    A.   Are not in Utah?
11:03:07    9    Q.   That's right. Are they --
11:03:12   10    A.   I'm sorry.
11:03:13   11    Q.   Let me rephrase. Are they in Utah?
11:03:16   12    A.   They're not in Utah.
11:03:18   13    Q.   Do you have any connections at all to Utah?
11:03:21   14    A.   No.
11:03:21   15    Q.   Your divorce petitions don't allege any harm to your child,
11:03:31   16    do they?
11:03:32   17    A.   No.
11:03:37   18    Q.   And you did request shared custody of your child between
11:03:40   19    you and your husband?
11:03:41   20    A.   Did I request --
11:03:43   21    Q.   Shared parental responsibility, shared custody?
11:03:47   22    A.   I remember sole parental responsibility.
11:03:52   23    Q.   So your divorce petitions did not request any shared
11:03:55   24    custody between you and your husband?
11:03:56   25    A.   I don't remember.
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11:04:00    1    Q.   You have not claimed today that your husband has physically
11:04:05    2    abused your son in any way, are you?
11:04:08    3    A.   Physical, no.
11:04:09    4    Q.   You didn't claim that in your divorce petition and you
11:04:13    5    didn't claim it in your response to this Hague petition either;
11:04:17    6    is that correct?
11:04:17    7    A.   For physical abuse to my son?
11:04:20    8    Q.   Yes.
11:04:20    9    A.   No.
11:04:21   10    Q.   The incidents that you mentioned in response to your
11:04:29   11    attorney's questioning of violence, did you ever report any of
11:04:33   12    those to law enforcement?
11:04:35   13    A.   The last time when I did that he started to choke me if I
11:04:41   14    call the police. He said, "They're just going to deport you if
11:04:44   15    you call for help because you're not a legal here."
11:04:48   16    Q.   Did you report any of those after he left the country?
11:04:52   17    A.   I -- I went to the shelter house is the only help I asked.
11:05:18   18    Q.   Are you claiming that your -- that you and your son were
11:05:22   19    habitual residents of the Philippines in this action or of the
11:05:26   20    United States?
11:05:27   21    A.   United States.
11:05:32   22                MR. NORDBY: No further questions.
11:05:33   23                THE COURT: Redirect?
11:05:37   24                             REDIRECT EXAMINATION
11:05:38   25    BY MR. LEVY:
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11:05:51    1    Q.   In regards to the Petition for Dissolution of Marriage and
11:05:54    2    Other Relief that's already been admitted, Ms. Anqui --
11:06:03    3               MR. LEVY: May I approach and just refresh her
11:06:05    4    recollection as to what her allegations were in the petition?
11:06:08    5               THE COURT: Yes.
11:06:25    6    BY MR. LEVY:
11:06:25    7    Q.   Actually, if you would, would you read into the record 12
11:06:28    8    through 14.
11:06:31    9    A.   12 through 14?
11:06:33   10    Q.   Yes, paragraph 12 through paragraph 14.
11:06:37   11    A.   "12: The wife request that the Court establish a parenting
11:06:40   12    plan that provides she has sole parental responsibility.
11:06:46   13    Shared parental responsibility would be detrimental to the
11:06:49   14    minor child for the reasons noted below in paragraph 14.
11:06:53   15         "13: Furthermore, the wife requests that the Courts
11:06:58   16    establish a parenting plan that provides the minor child
11:07:01   17    resides primarily with the wife during the school year with the
11:07:06   18    husband receiving visitation that the Court deems is in the
11:07:10   19    best interest of the child.
11:07:12   20         "14: A parenting plan that provides that the wife have
11:07:19   21    majority timeshare is in the best interest of the minor child
11:07:23   22    based on the following:
11:07:26   23         "A. Throughout the course of the marriage the wife has
11:07:29   24    been the primary caretaker of the minor child. The husband's
11:07:33   25    involvement has been limited due to his work and travel
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11:07:36    1    schedule.
11:07:38    2         "B. The husband left the wife and the minor child on
11:07:42    3    around August 1, 2014, and has provided no financial support to
11:07:48    4    them since then.
11:07:50    5         "C. The husband has committed acts of domestic violence
11:07:54    6    towards the wife and she fears him.
11:07:56    7         "D. The husband is verbally and mentally abusive towards
11:08:01    8    the wife.
11:08:02    9         "E. The husband has moved the family to different
11:08:07   10    geographic locations every few years, and the wife expects that
11:08:11   11    the husband's pattern of moving to continue in the future, thus
11:08:16   12    the wife can provide a more stable environment for the minor
11:08:20   13    child.
11:08:20   14         "F. The husband has threatened to take the child from the
11:08:25   15    jurisdiction of the Court and keep the child from the wife."
11:08:39   16    Q.   And did the husband ever follow through with his threats to
11:08:42   17    take the child?
11:08:43   18    A.   Yes.
11:08:43   19    Q.   And when did he do that?
11:08:45   20    A.   December.
11:08:48   21                MR. NORDBY: Objection, Your Honor, as beyond the
11:08:51   22    scope of my cross.
11:08:52   23                THE COURT: I'll allow you to recross.
11:08:55   24                Go ahead.
11:08:58   25                MR. LEVY: I'll go ahead and just -- no further
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11:09:03    1    questions, Your Honor.
11:09:04    2               THE COURT: Do you wish to follow-up to that question?
11:09:07    3               MR. NORDBY: No, Your Honor.
11:09:08    4               THE COURT: Ms. Anqui, you discussed your state of
11:09:16    5    affairs with your husband in Spain at the time you all made the
11:09:23    6    decision to leave and travel to the Philippines, and you said
11:09:27    7    you did not own a home, you had lived in three different rental
11:09:33    8    properties, all furnished?
11:09:36    9               THE WITNESS: Yes, Your Honor.
11:09:36   10               THE COURT: And then I heard you -- I thought I heard
11:09:39   11    you say that your husband sold your vehicle.
11:09:42   12               THE WITNESS: Yes, Your Honor.
11:09:43   13               THE COURT: When did he do that? Before you left or
11:09:46   14    after you left?
11:09:47   15               THE WITNESS: Before we left. We sold everything
11:09:50   16    before we left Spain.
11:09:51   17               THE COURT: Was there anything left behind in Spain
11:09:56   18    that you can speak of that connected you, your son, your
11:10:00   19    husband to Spain?
11:10:01   20               THE WITNESS: No.
11:10:02   21               THE COURT: Family?
11:10:03   22               THE WITNESS: No, we have no family there.
11:10:05   23               THE COURT: Employment?
11:10:08   24               THE WITNESS: No.
11:10:09   25               THE COURT: Your husband was a legal resident of
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11:10:16    1    Spain, correct?
11:10:18    2               THE WITNESS: At that time?
11:10:19    3               THE COURT: Right.
11:10:20    4               THE WITNESS: At that time, yes.
11:10:21    5               THE COURT: Did that change?
11:10:23    6               THE WITNESS: It changed. Even if you're a European
11:10:26    7    citizen but if you leave the country, after six months you no
11:10:30    8    longer have the residence.
11:10:31    9               THE COURT: So that was the same status that you
11:10:33   10    described for you was the same for him?
11:10:36   11               THE WITNESS: Yes, Your Honor.
11:10:39   12               THE COURT: Would that be the same for your son then?
11:10:41   13               THE WITNESS: Yes, Your Honor.
11:10:42   14               THE COURT: All right. That's all I have.
11:10:49   15               Any follow-up, Mr. Levy?
11:10:52   16               MR. LEVY: No, Judge.
11:10:54   17               THE COURT: Mr. Nordby?
11:10:58   18               MR. NORDBY: No, Your Honor.
11:10:59   19               THE COURT: All right, ma'am, you may step down.
11:11:02   20               (Witness excused.)
11:11:03   21               Any further evidence, Mr. Levy?
11:11:05   22               MR. LEVY: No, Judge. At this time we rest.
11:11:08   23               THE COURT: Okay. Any rebuttal?
11:11:12   24               MR. NORDBY: Your Honor, no evidentiary rebuttal. I'd
11:11:14   25    like the opportunity at the appropriate time to argue some law.
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11:11:17    1               THE COURT: That will be now. So we'll go ahead and
11:11:21    2    move into your closing arguments now. And time is of the
11:11:24    3    essence in these cases so we will hear argument, you know, oral
11:11:29    4    argument as opposed to written argument.
11:11:34    5               So, from the lectern, Mr. Nordby, when you're ready.
11:11:40    6               MR. NORDBY: Your Honor, Petitioner submits that the
11:12:13    7    verified petition for the return of the minor child pursuant to
11:12:16    8    the Hague Convention in federal statutes should be granted and
11:12:20    9    that the minor child here should be returned to Spain as the
11:12:23   10    country of habitual residence.
11:12:26   11               The case law on habitual residence is fairly uniform
11:12:33   12    that a place that the child resides where the child is not
11:12:38   13    legally permitted to reside cannot be the child's habitual
11:12:42   14    residence.
11:12:43   15               I think the case In re: Cabrera, which is found at 323
11:12:50   16    F. Supp. 2d 1303, Southern District of Florida case from 2004,
11:12:58   17    may be most similar to the facts we have here.
11:13:01   18               In that case, a child was born and lived the first few
11:13:05   19    years in Argentina, came to the United States on a tourist visa
11:13:10   20    and overstayed that visa, and the petition was brought to
11:13:13   21    return the child to Argentina.
11:13:16   22               That case stands for the fact that the habitual
11:13:18   23    residence of a young child cannot be shifted without mutual
11:13:22   24    agreement of the parents. The father in that case consented to
11:13:25   25    the child visiting the United States but not residing
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11:13:30    1    permanently.
11:13:31    2               We have similar facts here. The parents of the child
11:13:33    3    here came to the United States on a temporary investor visa,
11:13:39    4    not any sort of visa that could lead to permanent residence.
11:13:42    5               That case also suggested that, considering the child's
11:13:45    6    current immigration status and frequent moves, it was difficult
11:13:48    7    to find that the child had any settled purposes or habitual
11:13:53    8    residence in the United States. And the quote says that, "Any
11:13:56    9    stability that she may enjoy in the United States is
11:13:59   10    significantly undermined by the respondent's uncertain
11:14:02   11    immigration status."
11:14:03   12               And other cases have echoed that same reasoning. The
11:14:11   13    Kijowska case from the Seventh Circuit, an opinion by Judge
11:14:17   14    Posner, says that, "As an illegal alien, she can be arrested
11:14:22   15    and deported at any time, her link to this country was
11:14:26   16    particularly tenuous."
11:14:26   17               And other cases stand for the fact that the degree of
11:14:29   18    settled purpose required to establish habitual residency in the
11:14:33   19    United States cannot be satisfied by someone who is illegally
11:14:36   20    in this country or who has remained in this country illegally.
11:14:41   21               THE COURT: So that issue goes to the habitual
11:14:46   22    residence and the intent as to the habitual residence, not the
11:14:52   23    acclimatization of the child in the new country, if you will?
11:14:58   24               MR. NORDBY: Yes, Your Honor. And that's actually a
11:15:00   25    very important point that I'd like to address now. The
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11:15:03    1    affirmative defense under Article 12 of the Hague Convention
11:15:06    2    for a well-settled child only applies in cases where the Hague
11:15:10    3    petition is filed more than one year after the wrongful removal
11:15:14    4    or wrongful retention. So Article 12 says that when a petition
11:15:19    5    is filed more than one year after the wrongful
11:15:22    6    removal/retention and the child has become well settled in the
11:15:26    7    new country, an affirmative defense can be found that would
11:15:31    8    prohibit removal to the country of habitual residence.
11:15:33    9               That's simply not the case here. The wrongful
11:15:38   10    retention that we're alleging -- or that the petition alleges
11:15:42   11    took place in December of 2014 when the custody proceedings
11:15:45   12    were filed in the state courts and the Petitioner became aware
11:15:50   13    that the Respondent would seek to retain custody of the child
11:15:54   14    here in the United States without any legal immigration status.
11:15:59   15               The Hague petition here was filed within months. And
11:16:03   16    in fact, the petition to the Central Minister in Spain was
11:16:08   17    filed -- I believe it was two or three months after the
11:16:11   18    wrongful retention.
11:16:12   19               So the well-settled child affirmative defense is
11:16:16   20    completely inapplicable here because the petition was not filed
11:16:20   21    outside of that one year time from the wrongful retention.
11:16:24   22               As to the other affirmative defense that's been raised
11:16:27   23    in the response, the grave risk of harm to the child, there's
11:16:32   24    no grave risk of harm to the child under the circumstances here
11:16:38   25    and given the evidence that's been presented here.
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11:16:41    1                It's the Respondent's burden to prove grave risk of
11:16:46    2    harm to the child by clear and convincing evidence, and that
11:16:51    3    exception must be narrowly construed. We cited in our
11:16:56    4    memorandum in support of the petition the case Miller vs.
11:16:59    5    Miller, a Fourth Circuit case from 2000, that says that the
11:17:03    6    grave risk exception must be narrowly construed. And the
11:17:08    7    exception requires evaluation of the grave risk of physical
11:17:10    8    harm to the child, psychological harm to the child, or if the
11:17:15    9    return would otherwise place the children in an intolerable
11:17:19   10    situation.
11:17:19   11                The Federal Register notice, 51 Federal Register
11:17:36   12    10494, page 10510 from 1986 lays out a public notice on the
11:17:46   13    Hague International Child Abduction Convention's legal
11:17:46   14    analysis.
11:17:47   15                And I'll quote from it, and this has been quoted in
11:17:48   16    cases as well. "Even a serious risk of harm short of grave
11:17:52   17    risk does not rise to the level of prospective harm that the
11:17:56   18    Article 13(b) exception recognizes as a reason for not
11:17:59   19    returning a wrongfully removed or retained child. Cases that
11:18:04   20    have approved invocation of the Article 13(b) exception have
11:18:08   21    focused on evidence of a sustained pattern of physical abuse
11:18:11   22    and/or a propensity for violent abuse. Conversely, evidence of
11:18:16   23    real but sporadic abuse or isolated incidents of physical abuse
11:18:22   24    or even some limited incidents aimed at persons other than the
11:18:25   25    child at issue have not been found sufficient to support
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11:18:29    1    application of the grave risk exception."
11:18:31    2                So the point of this exception is that the grave risk
11:18:37    3    to the child exception is not intended as a substitute for the
11:18:41    4    best interests of the child standard that's used in custody
11:18:45    5    disputes.
11:18:46    6                Those sorts of considerations are appropriately
11:18:49    7    considered by the family law courts in the country of habitual
11:18:54    8    residence rather than as the exception to the Hague
11:18:58    9    Convention's return standard.
11:18:59   10                THE COURT: So, Mr. Nordby, point me to your strongest
11:19:04   11    evidence of your position -- Mr. Schurmann's position that
11:19:10   12    there was not a shared mutual intent to abandon Spain as the
11:19:16   13    child's habitual residence.
11:19:23   14                MR. NORDBY: Your Honor, a couple of things there.
11:19:25   15    The first one is that my client presented testimony that he
11:19:28   16    left belongings in Spain in the garage of a friend to be
11:19:31   17    available upon his return. So from an evidentiary perspective,
11:19:35   18    we think that's highly relevant.
11:19:38   19                The other is that the departure from Spain was
11:19:42   20    exclusively on temporary nonpermanent visas for a particular
11:19:46   21    term of years. So at the conclusion of those visas, the last
11:19:52   22    habitual residence where the family was legally present was
11:19:56   23    Spain.
11:19:57   24                THE COURT: But clearly, I mean, based even on
11:20:00   25    Mr. Schurmann's own testimony, it was the intent to apply to
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11:20:06    1    extend those visas. I mean, it was their intent to stay. I
11:20:10    2    don't have any evidence of the exact time frame that the couple
11:20:15    3    intended to stay in the United States, but clearly it wasn't
11:20:20    4    just for two years.
11:20:22    5               There's evidence in Mr. Schurmann's own hand that he
11:20:28    6    wanted his son to have a better opportunity at education. The
11:20:32    7    child was only two at the time that they left Spain, so
11:20:36    8    presumably that would be another four years. He admitted that
11:20:40    9    he applied to -- and tried twice to extend the investor visa
11:20:47   10    so --
11:20:49   11               MR. NORDBY: Your Honor, I accept that. But I believe
11:20:53   12    my client's testimony was that his intent upon coming to the
11:20:57   13    United States on the E-2 investor visa was to establish a
11:21:01   14    company and to sell it for a profit and then leave the country.
11:21:04   15               Those plans, unfortunately, did not work out from a
11:21:07   16    business perspective. He lost a great deal of money,
11:21:11   17    overstayed the visa, there's no disputing that, and was
11:21:14   18    attempting to recoup some of those losses to salvage sale of
11:21:18   19    equipment, sale of the business in some way before leaving the
11:21:22   20    country and calling it a complete loss.
11:21:25   21               THE COURT: The only evidence I guess that I heard --
11:21:29   22    or some evidence that I heard was from Ms. Anqui as to the
11:21:35   23    legal resident status in Spain for both of them and that after
11:21:43   24    being away from Spain for greater than six months that they no
11:21:50   25    longer had legal resident status there.
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11:21:54    1               MR. NORDBY: Your Honor, I don't know one way or the
11:21:56    2    other whether that's an accurate statement of European
11:22:00    3    immigration law. I don't know whether Mr. Schurmann or
11:22:04    4    Ms. Anqui is competent to testify as to that.
11:22:06    5               THE COURT: Well, that's the evidence before me,
11:22:09    6    unchallenged.
11:22:10    7               MR. NORDBY: Well, as to -- I understand. And if
11:22:12    8    there's a desire for supplemental briefing on that issue, we
11:22:16    9    can certainly do that. But the testimony of the lay witness as
11:22:19   10    to the legal effect, I'd suggest, is by itself insufficient.
11:22:23   11    But there are --
11:22:24   12               THE COURT: Well, I think she can certainly testify as
11:22:27   13    to her knowledge of her own legal resident status. And I
11:22:32   14    suppose as far as his, it would be based on her opinion as to
11:22:36   15    what she knew about her own and their similar circumstances.
11:22:41   16               MR. NORDBY: Your Honor -- and I don't have reason to
11:22:44   17    doubt her statement as to herself. What I'm not aware of is
11:22:47   18    whether the legal effect might be different for an EU citizen,
11:22:51   19    a German citizen, as Mr. Schurmann and as their son is, whether
11:22:55   20    the legal resident status in another EU country may be
11:22:59   21    different than it would be for a non-EU citizen. I don't know
11:23:03   22    the answer to that legal question.
11:23:06   23               MR. SCHURMANN: Your Honor, I know the answer to it.
11:23:09   24    May I say it, please?
11:23:09   25               THE COURT: No, you may not. The case is closed.
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11:23:14    1    There is no more evidence, Mr. Schurmann.
11:23:17    2               Anything else?
11:23:21    3               MR. NORDBY: If I could just have one moment, Your
11:23:23    4    Honor?
11:23:24    5               THE COURT: Yes.
11:24:00    6               MR. NORDBY: Just touching again on two legal points,
11:24:03    7    Your Honor. One of the other aspects that the courts have
11:24:08    8    looked at in determining whether there's a grave risk of harm
11:24:11    9    are the circumstances in the country of habitual residence, in
11:24:15   10    this case in Spain.
11:24:16   11               Certainly this is not the case where Spain is a
11:24:20   12    war-torn country or a third world country where the child would
11:24:25   13    be placed into danger simply by being sent to that country.
11:24:29   14    And we, of course, would be willing to make whatever
11:24:32   15    arrangements we would need with the State Department to ensure
11:24:38   16    safe transfer would be granted.
11:24:40   17               And finally, on the question of habitual residence,
11:24:50   18    let me just quote from the Alonzo vs. Claudino case from the
11:24:54   19    Middle District of North Carolina, which I believe is a case we
11:24:56   20    cited in our memorandum, it's 2007 Westlaw 475340.
11:25:01   21               It said, "It is impossible to be settled when you're
11:25:04   22    subject to arrest and deportation at any time."
11:25:07   23               We believe the current illegal immigration status of
11:25:11   24    both Ms. Anqui and of the child rebuts a claim of habitual
11:25:16   25    residence in the United States. The well-settled child
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11:25:20    1    exception does not apply here because the petition was filed
11:25:24    2    within one year after the wrongful retention, and that there's
11:25:28    3    not sufficient evidence by a clear convincing standard of a
11:25:32    4    grave risk of harm to the child based on the record here.
11:25:34    5               THE COURT: Let me ask a question about that. So this
11:25:41    6    issue of the illegal immigration -- or the immigration status
11:25:45    7    and the questionable immigration status for both Ms. Anqui and
11:25:49    8    the son, are you suggesting that that goes to the well-settled
11:26:02    9    sort of environment for the child, or are you suggesting that
11:26:08   10    goes to the initial question of whether the retention was
11:26:15   11    wrongful because the habitual residence is Spain?
11:26:19   12               My reason for ask is, if I was to find, based on the
11:26:22   13    evidence before me and the law, that there was no shared mutual
11:26:28   14    intent to maintain Spain as the child's habitual residence,
11:26:34   15    what would your argument be then as to the questionable nature
11:26:39   16    of the immigration status of the mother and the child?
11:26:42   17               MR. NORDBY: Well, Your Honor, the cases have said
11:26:45   18    that habitual residence isn't quite like domicile but it's like
11:26:49   19    domicile in that you only have one at a time. And if you've
11:26:53   20    come to the United States on a temporary visa, by the nature of
11:26:58   21    that there's no intent to remain indefinitely in the United
11:27:02   22    States.
11:27:02   23               THE COURT: No, I disagree. I mean, there could --
11:27:04   24    and I'm not suggesting what my finding is going to be here, but
11:27:07   25    you could have a situation where a family decided we are moving
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11:27:13    1    to X country, we're on a temporary status, but we're going to
11:27:20    2    do everything we can to make that permanent, and we never, by
11:27:25    3    the way, intend to return to the former country, no matter
11:27:29    4    what. We may go to a different country, but we're never going
11:27:33    5    back to that one. So I don't see how that would change the
11:27:36    6    analysis.
11:27:38    7                MR. NORDBY: Your Honor, there are also some cases
11:27:40    8    suggesting that habitual residence inquiry must be
11:27:45    9    backward-looking rather than forward-looking. It's not as to
11:27:47   10    what the parties might want to do in the future, it's where
11:27:51   11    they have been habitually.
11:27:52   12                THE COURT: Well, it's what their intent was when they
11:27:55   13    left Spain, because there's no question they left Spain. So
11:27:58   14    it's what was their intent at the time they packed themselves
11:28:01   15    up, including their son, and moved to the Philippines, what was
11:28:06   16    their intent at that time.
11:28:09   17                MR. NORDBY: Right. And we'd suggest that the
11:28:11   18    evidence that's been presented suggests that they were coming
11:28:14   19    to the United States ultimately on a temporary investor visa
11:28:18   20    and then intended to return.
11:28:21   21                THE COURT: Right, but back to my original question,
11:28:24   22    and that was your focus on the questionable immigration status
11:28:28   23    of the mother and the son. I'm wondering what your point is or
11:28:36   24    what your position is as to where that comes into the analysis
11:28:39   25    for the Court. That's my question.
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11:28:45    1               MR. NORDBY: Sure. Your Honor, I think the cases have
11:28:47    2    looked at that under the habitual residence prong of the prima
11:28:51    3    facie case rather than as an affirmative defense.
11:28:54    4               THE COURT: So if you leave a country and have no
11:28:57    5    intention of ever returning, right, and you end up in another
11:29:01    6    country where your visa expires, you're suggesting to me that
11:29:07    7    the case law says that, even though the parties' intent was to
11:29:12    8    abandon that country and never return to it, that that child
11:29:16    9    needs to go back to that country because of the questionable
11:29:19   10    immigration status of the child?
11:29:20   11               MR. NORDBY: Your Honor, I think the question has come
11:29:23   12    up more frequently in the wrongful removal cases than the
11:29:27   13    wrongful retention cases.
11:29:29   14               THE COURT: We have retention here, though.
11:29:31   15               MR. NORDBY: We have a wrongful retention case here.
11:29:34   16    But I would suggest that the habitual residence has to be
11:29:36   17    looked at and that the immigration status goes to the habitual
11:29:38   18    residence rather than the well-settled child.
11:29:43   19               Again, the Cabrera case from the Southern District, I
11:29:48   20    believe, looked at it under that prong, that the habitual
11:29:50   21    residence of the young child cannot be shifted without mutual
11:29:54   22    agreement. And the record here does not establish that there
11:29:57   23    was a mutual agreement to shift the habitual residence to the
11:30:04   24    United States.
11:30:04   25               THE COURT: Thank you, Mr. Nordby.
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11:30:05    1               MR. NORDBY: Thank you, Your Honor.
11:30:07    2               THE COURT: All right, Mr. Levy.
11:30:08    3               MR. LEVY: Thank you, Judge. I would disagree with
11:30:15    4    Mr. Nordby's assessment that there wasn't a mutual intent.
11:30:22    5    Although Mr. Schurmann didn't testify explicitly, and denied
11:30:26    6    it, if you look at the evidence as a whole, he was never
11:30:30    7    consistent.
11:30:33    8               He filed -- he didn't challenge jurisdiction when my
11:30:38    9    client went to a state court and sought a divorce and sought
11:30:41   10    for the parental custody rights to be settled. He appeared, he
11:30:46   11    filed a UCCJ, he filed a counter-petition. And in that
11:30:50   12    counter-petition he didn't request to go back to Spain. He
11:30:53   13    requested to go back to Germany with the child, and even
11:30:55   14    represented that he had a job in Germany that was going to pay
11:30:59   15    him six figures.
11:31:00   16               And if you look at the evidence, he not only said it
11:31:04   17    once, he said it twice. He wrote an email, a derogatory email
11:31:09   18    to Judge Polson in which he said, you know, "Release my child
11:31:13   19    to me to Germany or else I'm going to run a smear campaign."
11:31:18   20    And so once again he was asking for the child to be returned to
11:31:21   21    Germany.
11:31:22   22               The whole purpose of the Hague Act is to prevent the
11:31:26   23    kind of gamesmanship that sort of Mr. Schurmann is engaging in.
11:31:31   24    Initially he filed a petition for domestic violence. He got
11:31:35   25    the child based on circumstances which he ultimately later
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11:31:39    1    dismissed when it came to hearing. But in the interim he even
11:31:43    2    acknowledged that he tried to take the child out of the country
11:31:47    3    right there and then, no process, just go ahead and remove the
11:31:50    4    child and against court order.
11:31:55    5               And so when that failed, then he went ahead and he
11:31:59    6    participated in the divorce action. And then he got a ruling
11:32:03    7    that wasn't favorable to him. The judge entered an order and
11:32:07    8    gave Ms. Anqui primary time with the child.
11:32:13    9               And so -- and I think this is very key. I know he's
11:32:19   10    made allegations and possibly in his petition but there was
11:32:23   11    certainly no evidence. He voluntarily left the United States.
11:32:26   12    He wasn't deported. He had a custody order in place where he
11:32:30   13    saw his child.
11:32:32   14               There's an ongoing judicial proceeding that's going to
11:32:34   15    settle the rights as to whether he gets the child or she gets
11:32:40   16    the child. He voluntarily took himself out of that situation,
11:32:43   17    went to another country, and he picked a country which they
11:32:47   18    have no ties to.
11:32:48   19               They lived there in rentals. He said he went -- moved
11:32:54   20    to the Philippines even before they came to the United States
11:32:56   21    and he purchased a business in the Philippines and then moved
11:33:00   22    it to the United States and tried to stay in the United States.
11:33:07   23               And I've got a case here, it's Dalsgaard v. Montoya
11:33:17   24    and it's a Middle District case.
11:33:21   25               THE COURT: Do you have a cite?
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11:33:22    1               MR. LEVY: It doesn't look like it was a published
11:33:25    2    opinion because I'm looking for it and all I see is the 2011
11:33:29    3    Westlaw.
11:33:30    4               THE COURT: That's okay, give me the Westlaw cite.
11:33:33    5               MR. LEVY: 2011 Westlaw 50372 -- my eyes are so bad, I
11:33:44    6    apologize, either 23 or 33 is the last two digits, but it's
11:33:52    7    Dalsgaard v. Montoya.
11:34:02    8               And they talk about habitual residence in there, and
11:34:04    9    they talk about it as the place where the child has been
11:34:07   10    physically present for an amount of time sufficient for
11:34:12   11    acclimatization and which has a degree of settled purpose from
11:34:17   12    the child's perspective.
11:34:18   13               The child is in school. The child has been here. The
11:34:22   14    child speaks English, doesn't speak any foreign languages. I
11:34:26   15    don't see how, you know, the father can now come in here and
11:34:31   16    try and say it's rational that the child has always remained a
11:34:35   17    citizen of Europe and that there was this agreement, which
11:34:38   18    clearly my client contests. She says there was never any type
11:34:42   19    of an agreement for them to return to Spain.
11:34:44   20               I don't -- I don't see how they can say it's a
11:34:47   21    wrongful retention. He just -- they both ended up abandoning
11:34:53   22    Spain and coming here.
11:34:56   23               And I don't have the case -- I thought I had pulled
11:35:00   24    it -- and I don't want to misrepresent it, but I do remember
11:35:05   25    reading a case yesterday evening -- and I apologize because I
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11:35:08    1    kind of had to -- I was rushed on to this case with other stuff
11:35:12    2    going on. But it talked about immigration status not being all
11:35:18    3    that relevant from a habitual residence perspective as long as
11:35:23    4    there was no imminent threat of deportation. And I thought I
11:35:26    5    had printed the case and brought it in but I had not.
11:35:30    6               THE COURT: This was a Hague --
11:35:33    7               MR. LEVY: Hague Convention case where they had talked
11:35:36    8    about the status. And I know there's different prongs, and so
11:35:40    9    I don't want to misrepresent it, that's why I wanted to review
11:35:42   10    it. But that's my recollection of what the finding was.
11:35:46   11               And so what we have here is just a situation where he
11:35:51   12    decided not to litigate his rights in this country. I think
11:35:56   13    they both filed UCCJA affidavits and said, "This is the home
11:36:03   14    state of the child. The circuit court in Okaloosa County can
11:36:06   15    make a custody decision."
11:36:08   16               And then she made a temporary custody decision not to
11:36:11   17    Mr. Schurmann's liking, and he went ahead and went to Europe
11:36:15   18    and then filed this instant action.
11:36:17   19               And I think there's also been some evidence as to
11:36:19   20    abuse. I think if you look at the letters and then you see his
11:36:23   21    characterizations --
11:36:26   22               THE COURT: Do I have the affidavits? Were they a
11:36:30   23    part of the exhibits?
11:36:33   24               MR. LEVY: They were. I don't know if I moved them
11:36:35   25    into evidence, but I think I did attach at least her affidavit,
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11:36:38    1    but probably both affidavits.
11:36:40    2               THE COURT: I want to make sure I've got both.
11:36:43    3               MR. LEVY: And the Court made explicit findings that
11:36:46    4    it had jurisdiction over the subject matter and parties in its
11:36:51    5    orders. And that's never been challenged. They've never --
11:36:55    6    well, actually, I take that back, Judge.
11:37:01    7               At this point, I don't think -- I think Mr. Schurmann
11:37:04    8    is running pro se and is filing pro se motions, a lot of pro se
11:37:10    9    motions in that case.
11:37:10   10               THE COURT: So you're saying there is not an affidavit
11:37:13   11    from Mr. --
11:37:14   12               MR. LEVY: No, there is a UCCJA -- when he was
11:37:17   13    represented by counsel, Travis Johnson, they filed a UCCJA
11:37:23   14    affidavit. I don't believe I moved it into evidence, but it is
11:37:25   15    in the record of Okaloosa County Clerk of Court where they're
11:37:32   16    asserting Florida is the home state, and that's when he's
11:37:36   17    requesting for the court to permit him to relocate with the
11:37:41   18    child to Germany.
11:37:54   19               THE COURT: Okay.
11:37:54   20               MR. LEVY: And so I think when you look at the
11:37:56   21    evidence I think you do -- as far as see the demeanor of client
11:38:00   22    in reference to Mr. Schurmann's behavior. And she had also
11:38:02   23    indicated that she was about to move her supervised visitation
11:38:07   24    because every time the child was coming back from the time with
11:38:09   25    the father he was psychologically shaken up and very unhappy.
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11:38:16    1               THE COURT: All right. Thank you.
11:38:21    2               MR. LEVY: That's all I have.
11:38:22    3               THE COURT: Thank you. All right. Well, as I said,
11:38:25    4    time is of the essence in these cases, both as a practical
11:38:30    5    matter and also as set forth in the statute. So we will
11:38:35    6    endeavor to get a written decision out to you hopefully
11:38:40    7    sometime in the next couple of weeks. It won't be today or
11:38:46    8    tomorrow but sometime in the next couple of weeks.
11:38:49    9               Thank you very much for your presentations.
11:38:51   10               Mr. Schurmann, thank you for going to the lengths that
11:38:53   11    you went to to appear by videoconference.
11:39:00   12               MR. SCHURMANN: Your Honor, may I give my final
11:39:02   13    statement, please?
11:39:02   14               THE COURT: No, sir. Your attorney has given your
11:39:05   15    final statement on your behalf.
11:39:07   16               So we will be in recess. And again, I'll have an
11:39:10   17    order out just as quickly as I can. Thank you.
11:39:14   18               MR. SCHURMANN: Your Honor --
           19                   (Proceedings concluded at 11:39 a.m.)
           20                             --------------------
           21   I certify that the foregoing is a correct transcript from the
                record of proceedings in the above-entitled matter. Any
           22   redaction of personal data identifiers pursuant to the Judicial
                Conference Policy on Privacy are noted within the transcript.
                      Donna L Boland
           23

           24                                                          1-13-2017
                   Donna L. Boland, RPR, FCRR                          Date
           25      Official Court Reporter
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